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                                            April 2, 2025

Catherine O’Hagan Wolfe, Clerk of the Court
U.S. Court of Appeals for the Second Circuit
Thurgood Marshall U.S. Courthouse
40 Foley Square
New York, NY 10007


               RE: In Re: Oral Phenylephrine Marketing and Sales Practices Litig., No.
               24-3296, Plaintiffs-Appellants’ Rule 28(j) Letter

Dear Ms. O’Hagan Wolfe:

        We write to bring to the Court’s attention today’s Supreme Court opinion in Medical
Marijuana, Inc. et al. v. Horn, No. 23–365 (April 2, 2025), attached, affirming this Court’s
ruling in Horn v. Med. Marijuana, Inc., 80 F.4th 130 (2d Cir. 2023). Today’s opinion establishes
that the District Court erred by applying the direct purchase requirement from antitrust law as a
prerequisite to RICO standing. We raise Horn through this Rule 28(j) letter to provide Appellees
a full opportunity to address it in their brief.

         Horn rejects an attempt to import into RICO limitations “on recovery for certain
economic harms” developed in “modern antitrust precedent” but found nowhere in RICO itself.
Horn, at 12. The Court traced the long history of its own relevant jurisprudence, starting with
Sedima, S. P. R. L. v. Imrex Co., 473 U.S. 479 (1985), continuing through Holmes v. Sec. Inv.
Prot. Corp., 503 U.S. 258 (1992) and Bridge v. Phoenix Bond & Indem. Co., 553 U.S. 639
(2008). Horn, at 9-10. Those cases held, and the Court “reiterate[d] today that the Clayton Act
and §1964(c) [RICO] are not interchangeable,” and the fact that the former “require[s] a
particular kind of injury” does not mean the same is required in RICO. Horn, at 13 (cleaned up).
The Court thus declined to import antitrust concepts barring recovery for business or property
losses flowing from personal injury to preclude recovery for such harms in RICO. Horn, at 6, 19.
It also reiterated its longstanding refusal to rewrite RICO to accomplish policy goals, noting that
“[i]f the breadth of the statute leads to the undue proliferation of RICO suits, the correction must
lie with Congress.” Horn, at 18 (cleaned up).

       Finally, the Court stressed that the RICO proximate cause test is a “direct-relationship
requirement,” noting that “[t]ime and again, we have reiterated that §1964(c)’s ‘by reason of’
language demands ‘some direct relation between the injury asserted and the injurious conduct

                                                -1-
alleged,’” nothing less and nothing more. Horn, at 17. This is the core of Appellants’ RICO
argument before this Court, and was incorrectly rejected by the District Court.


                                                           Respectfully submitted,



                                                           Samuel Issacharoff




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(Slip Opinion)              OCTOBER TERM, 2024                                       1

                                       Syllabus

         NOTE: Where it is feasible, a syllabus (headnote) will be released, as is
       being done in connection with this case, at the time the opinion is issued.
       The syllabus constitutes no part of the opinion of the Court but has been
       prepared by the Reporter of Decisions for the convenience of the reader.
       See United States v. Detroit Timber & Lumber Co., 200 U. S. 321, 337.


SUPREME COURT OF THE UNITED STATES

                                       Syllabus

        MEDICAL MARIJUANA, INC., ET AL. v. HORN

CERTIORARI TO THE UNITED STATES COURT OF APPEALS FOR
                 THE SECOND CIRCUIT

      No. 23–365.     Argued October 15, 2024—Decided April 2, 2025
Seeking relief from his accident-related chronic pain, Douglas Horn pur-
  chased and began taking “Dixie X,” a purportedly THC-free, non-psy-
  choactive CBD tincture produced by Medical Marijuana, Inc. A few
  weeks later, however, Horn’s employer selected him for random drug
  screening, and Horn tested positive for THC. After he refused to par-
  ticipate in a substance abuse program, his employer fired him. Horn
  then sued Medical Marijuana under the Racketeer Influenced and Cor-
  rupt Organizations Act (RICO), which creates a cause of action for
  “[a]ny person injured in his business or property” by reason of a crim-
  inal RICO violation. 18 U. S. C. §1964(c). The District Court granted
  summary judgment to Medical Marijuana. Horn’s lost employment
  derived from a personal injury (ingesting THC), the court reasoned.
  And in the court’s view, §1964(c) forecloses recovery not only for per-
  sonal injuries, but also for business or property harms that result from
  such injuries. The Second Circuit reversed, concluding that Horn had
  been “injured in his business” when he lost his job. In so holding, the
  Second Circuit rejected the “antecedent-personal-injury bar,” a rule
  adopted by several circuits that precludes recovery for business or
  property losses that derive from a personal injury.
Held: Under civil RICO, §1964(c), a plaintiff may seek treble damages
 for business or property loss even if the loss resulted from a personal
 injury. Pp. 4–19.
    (a) The sole question before the Court is whether civil RICO categor-
 ically bars recovery for business or property losses that derive from a
 personal injury. The Court does not address issues implicated by this
 case but outside the scope of the question presented, i.e., whether Horn
 suffered a personal injury when he consumed THC, whether the term
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                                   Syllabus

    “business” encompasses all aspects of “employment,” and what “in-
    jured in his . . . property” means for purposes of §1964(c). Pp. 4–5.
       (b) Section 1964(c) provides that “[a]ny person injured in his busi-
    ness or property by reason of a violation of [RICO] may sue . . . .” The
    ordinary meaning of “injure” is to “cause harm or damage to” or to
    “hurt.” American Heritage Dictionary 676. So the meaning of §1964(c)
    is straightforward: A plaintiff has been “injured in his business or
    property” if his business or property has been harmed or damaged.
       Even so, §1964(c) does not allow recovery for all harms. By explicitly
    permitting recovery for harms to business and property, §1964(c) im-
    plicitly excludes recovery for harm to one’s person. But the business
    or property requirement operates with respect to the kinds of harm for
    which the plaintiff can recover, not the cause of the harm for which he
    seeks relief. For example, a gas station owner beaten in a robbery
    cannot recover for his pain and suffering. But if injuries from the rob-
    bery force him to shut his doors, he can recover for the loss of his busi-
    ness. A plaintiff can seek damages for business or property loss, in
    other words, regardless of whether the loss resulted from a personal
    injury. Pp. 5–6.
       (c) Medical Marijuana argues that while “injury” ordinarily means
    harm, it can also refer to the “invasion of a legal right.” Ballentine’s
    Law Dictionary 627. Seizing on the latter definition, Medical Mariju-
    ana asserts that “injured in his business or property” means “suffered
    an invasion of a business or property right”—i.e., a business or prop-
    erty tort. And Medical Marijuana contends that the invasion of a per-
    sonal right never gives rise to a RICO claim. So if a personal-injury
    tort causes a business or property harm, the plaintiff “cannot recast”
    his harm “as the basis for a RICO suit.”
       Medical Marijuana in effect tries to make a term-of-art argument
    without the term of art. True, “injury” can mean the “invasion of a
    legal right,” but even legal dictionaries confirm that “injury” often
    means “harm” or “damage.” In any event, when a word carries both
    an ordinary and specialized meaning, context determines the choice
    between them. Here, context favors ordinary meaning. The statute
    uses “injured,” not “injury,” and the dictionary Medical Marijuana re-
    lies on defines “injured” only according to its ordinary meaning. And
    Medical Marijuana’s argument based on the presence of the word
    “damages” in §1964(c) is untenable. The phrase “threefold the dam-
    ages he sustains” refers to monetary redress—i.e., a plaintiff may re-
    cover triple the amount that makes him whole. Pp. 6–9.
       (d) Medical Marijuana ignores the many cases in which the Court
    has used the words “injury,” “harm,” and other terms connoting loss
    interchangeably. See, e.g., Sedima, S. P. R. L. v. Imrex Co., 473 U. S.
    479, 497 (“[T]he compensable injury necessarily is the harm caused by
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                               Syllabus

predicate acts sufficiently related to constitute a pattern”); Anza v.
Ideal Steel Supply Corp., 547 U. S. 451, 457; Hemi Group, LLC v. City
of New York, 559 U. S. 1, 12. Medical Marijuana’s tort-centric defini-
tion of “injured” also stands in significant tension with the Court’s
holding in Yegiazaryan v. Smagin, 599 U. S. 533. In Yegiazaryan the
Court addressed the circumstances in which injuries to property qual-
ify as “domestic” and thus provide a basis for recovery under §1964(c).
Yegiazaryan urged the Court to rely on common-law principles gov-
erning “ ‘the situs’ ” of economic and property injuries. Id., at 546–547.
After questioning whether such common-law principles were even
“germane” to §1964(c), the Court rejected their application and instead
adopted a contextual inquiry. Id., at 544. In other words, the Court
rejected an appeal to rely on the common law, deeming that approach
inconsistent with “the thrust of §1964(c).” Id., at 548. The Court
reaches the same conclusion here. Pp. 9–11.
   (e) While Medical Marijuana insists that the Court’s antitrust prec-
edent settles the question, its reliance on antitrust law is misplaced.
For one, antitrust law does not require plaintiffs to allege business or
property injuries that track common-law torts. And for another, the
Court has long recognized that the Clayton Act’s and §1964(c)’s injury
requirements are not “interchangeable.” RJR Nabisco, Inc. v. Euro-
pean Community, 579 U. S. 325, 352. Pp. 11–13.
   (f) Medical Marijuana offers little guidance about how courts should
assess whether a plaintiff has suffered a qualifying legal injury. In
fact, the conclusions Medical Marijuana draws from its own hypothet-
icals rely on pure ipse dixit. It admits, for example, that draining a
bank account using a computer password obtained by violence injures
the account holder’s property; it concedes that §1964(c) allows recovery
for a ransom payment despite the antecedent kidnapping; and it in-
sists that a human-trafficking victim can sue for her business or prop-
erty harm despite it resulting from her captivity. But if an antecedent-
personal-injury bar exists, it is unclear why any of these plaintiffs can
recover for their losses.
   Defining “injured” by reference to legal rights also raises questions
about defining the right at issue. Medical Marijuana’s proposed solu-
tion—that courts should consult the complaint, state law, and general
tort principles—does not work. Taking those sources in order, the par-
ties’ disagreement over whether Horn pleaded a personal injury ex-
poses the problems with looking to the plaintiff’s complaint. Relying
on state law would create choice-of-law questions. And looking to gen-
eral tort law poses problems of its own. Not only does general tort law
not always clearly distinguish between “business,” “personal,” and
“property” torts, but it also is difficult to apply when there is no clear
analogue or majority rule. Pp. 13–17.
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       (g) Medical Marijuana warns that the Second Circuit’s rule will evis-
    cerate RICO’s “business or property” limitation, allowing plaintiffs to
    transform personal-injury claims into RICO suits for treble damages.
    But Medical Marijuana understates the other constraints on civil
    RICO claims. Even so, civil RICO has no doubt evolved “into some-
    thing quite different from the original conception of its enactors,”
    Sedima, 473 U. S., at 500, and Medical Marijuana is not the first to
    express concern about the over-federalization of state-law claims. As
    the Court has said before, if the statute allows the undue proliferation
    of RICO suits, the “correction must lie with Congress.” Id., at 499.
    Pp. 17–18.
80 F. 4th 130, affirmed and remanded.

  BARRETT, J., delivered the opinion of the Court, in which SOTOMAYOR,
KAGAN, GORSUCH, and JACKSON, JJ., joined. JACKSON, J., filed a concur-
ring opinion. THOMAS, J., filed a dissenting opinion. KAVANAUGH, J., filed
a dissenting opinion, in which ROBERTS, C. J., and ALITO, J., joined.
                         Cite as: 604 U. S. ____ (2025)                              1

                              Opinion of the Court

      NOTICE: This opinion is subject to formal revision before publication in the
      United States Reports. Readers are requested to notify the Reporter of
      Decisions, Supreme Court of the United States, Washington, D. C. 20543,
      pio@supremecourt.gov, of any typographical or other formal errors.


SUPREME COURT OF THE UNITED STATES
                                    _________________

                                    No. 23–365
                                    _________________


MEDICAL MARIJUANA, INC., ET AL., PETITIONERS v.
             DOUGLAS J. HORN
 ON WRIT OF CERTIORARI TO THE UNITED STATES COURT OF
           APPEALS FOR THE SECOND CIRCUIT
                                  [April 2, 2025]

  JUSTICE BARRETT delivered the opinion of the Court.
  The Racketeer Influenced and Corrupt Organizations Act
(RICO) creates a cause of action for “[a]ny person injured in
his business or property.” 18 U. S. C. §1964(c). We must
decide whether the statute, by implicitly denying a remedy
for personal injuries, also denies a remedy for business and
property loss that derives from a personal injury. It does
not.
                            I
                            A
  In 2012, Douglas Horn was working as a commercial
truck driver when he crashed his truck and injured his back
and shoulder. Months later, he was still suffering from
chronic pain, and neither physical therapy nor traditional
medicine provided relief. While searching for a natural al-
ternative, Horn came across “Dixie X,” a tincture infused
with cannabidiol—more commonly known as CBD—sold by
Medical Marijuana, Inc.1 CBD, like its cannabis “cousin”
——————
  1 Red Dice Holdings, LLC, is a joint venture of Medical Marijuana, Inc.,

and Dixie Holdings, LLC. All three petitioners—defendants in the courts
below—played a role in producing and selling Dixie X. The details of
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tetrahydrocannabinol (THC), is a naturally occurring
chemical compound found in the cannabis plant. Only
THC, however, has the mind-altering properties associated
with marijuana.2
   Because a positive drug test could cost him his job, Horn
was wary of any product that might contain THC. But
Dixie X seemed safe. It was described as a “CBD-rich,” non-
psychoactive medicine that is “0% THC.” App. 19. Medical
Marijuana’s online FAQ page promised that Dixie X was
“legal to consume both here in the U.S. and in many coun-
tries abroad.” Id., at 40. Additional research, including a
call to a customer-service representative, reinforced those
representations. Satisfied that Dixie X was THC-free, Horn
bought a bottle and gave it a try.
   A few weeks later, Horn’s employer selected him for a
random drug screening. To his surprise, the test detected
THC in his system. After Horn refused to complete a sub-
stance-abuse program—in his view, doing so would consti-
tute “an admission to doing drugs,” id., at 91–92—his em-
ployer fired him. Horn then ordered another bottle of Dixie
X and sent it to a third-party lab for testing. This test also
came back positive for THC. In fact, the lab refused to mail
the sample back to him, fearing that doing so would violate
federal law.
   Horn sued Medical Marijuana in Federal District Court,
raising a civil RICO claim (as well as a host of state-law
claims not relevant here). See 18 U. S. C. §1964(c). He al-
leged that Medical Marijuana was a RICO “ ‘enterprise’ ” en-
gaged in marketing, distributing, and selling Dixie X.
§1961(4); see United States v. Turkette, 452 U. S. 576, 583
(1981) (a RICO enterprise is “a group of persons associated
——————
their respective roles do not matter here, so we refer to them collectively
as “Medical Marijuana.”
  2 See Substance Abuse and Mental Health Services Administration,

Cannabidiol (CBD)—Potential Harms, Side Effects, and Unknowns 1
(Feb. 2023).
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together for a common purpose of engaging in a course of
conduct”). He also asserted that Medical Marijuana’s false
or misleading advertising satisfied the elements of mail and
wire fraud and that those crimes constituted a “ ‘pattern of
racketeering activity.’ ” §§1961(1), (5); see also §§1341,
1343.
    The District Court granted summary judgment to Medi-
cal Marijuana on the RICO claim. According to the court,
Horn’s lost employment “flow[ed] from, and [was] deriva-
tive of, a personal injury he suffered”—the introduction of
THC “into his system through the ingestion of Dixie X.”
2021 WL 4173195, *2, *5 (WDNY, Sept. 14, 2021). Yet
RICO’s civil cause of action, the court stressed, is available
only to a “ ‘person injured in his business or property.’ ” Id.,
at *2 (emphasis added). Because a plaintiff cannot recover
for a personal injury, it reasoned, neither can he recover for
a business or property harm that results from a personal
injury. Id., at *5. So for Horn, §1964(c) offered no path to
relief.
    The Second Circuit reversed. 80 F. 4th 130 (2023). It
began by analyzing an issue that neither the District Court
nor the parties had addressed: whether the term “business”
in §1964(c) encompasses not only a “ ‘commercial or indus-
trial establishment or enterprise,’ ” but also an individual’s
“ ‘employment.’ ” Id., at 135–136. Adopting the broad defi-
nition, the Second Circuit concluded that Horn had been
“ ‘injured in his business’ ” when he lost his job. Ibid.
    It then turned to the District Court’s holding that a plain-
tiff like Horn cannot recover for a business or property
harm that flows from an “antecedent personal injury.” Id.,
at 137. Horn insisted that any personal-injury bar was in-
applicable because the court had mischaracterized his “un-
witting ingestion of THC” as a “personal injury” from which
his lost employment derived. Id., at 135, n. 2. But the Sec-
ond Circuit put this issue aside, instead holding that
§1964(c) does not impose an “antecedent-personal-injury
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bar.” Id., at 137. It acknowledged that by granting recovery
to someone “injured in his business or property,” §1964(c)
“implicitly excludes recovery for personal injuries.” Ibid.
Even so, the court said, nothing in “RICO’s text or struc-
ture” justifies reading this “negative implication” to exclude
recovery for all business and property injuries that happen
to derive from a personal injury. Id., at 138. Rather, Con-
gress “expressly authorized” a plaintiff to sue for injuries to
his business or property. Id., at 140. And “business and
property are no less injured simply because” the plaintiff
also suffered “an antecedent personal injury.” Id., at 140–
141.
  By rejecting an antecedent-personal-injury bar, the Sec-
ond Circuit deepened a split among the circuits. The Sixth,
Seventh, and Eleventh Circuits have each interpreted
§1964(c) to preclude relief for any economic loss (including
loss to business or property) that results from a personal
injury. See Jackson v. Sedgwick Claims Mgmt. Servs., Inc.,
731 F. 3d 556, 565 (CA6 2013) (en banc); Doe v. Roe, 958 F.
2d 763, 770 (CA7 1992); Grogan v. Platt, 835 F. 2d 844, 847
(CA11 1988). The Second Circuit has joined the Ninth Cir-
cuit in refusing to distinguish between a business or prop-
erty loss suffered as an immediate consequence of a RICO
violation and one “derived from” or “a secondary effect of ”
a personal injury. Diaz v. Gates, 420 F. 3d 897, 901 (2005)
(en banc). We granted certiorari to resolve the split. 601
U. S. ___ (2024).
                             B
  Because this case implicates several issues that fall out-
side the scope of the question presented, we begin by em-
phasizing what we do not decide.
  First, we express no view on whether Horn suffered an
antecedent personal injury when he consumed THC. In the
courts below, Horn characterized his injury as exclusively
to his business and property because the defendants hurt
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his livelihood, not his body. Whatever the merits of this
theory, the Second Circuit did not address it, and neither
party asks us to revisit the District Court’s conclusion that
Horn suffered a personal injury. So like the Second Circuit,
we proceed on the understanding that he did.
   Second, we do not decide whether the Second Circuit cor-
rectly interpreted “business” to encompass “employment”
for purposes of §1964(c). This interpretation may or may
not be right. But because Medical Marijuana has not chal-
lenged it, we leave the issue for another day.
   Finally, we do not opine on what it means for a plaintiff
to be “injured in his . . . property” under §1964(c). The par-
ties suggest that this phrase covers all pecuniary loss. We
need not engage this argument, however, because Horn’s
claim does not depend on it. After concluding that Horn
was “injured in business,” the Second Circuit expressly re-
served the question “whether Horn suffered an injury to
property when he lost his job.” 80 F. 4th, at 136, n. 3. We
follow suit.
   The only question we address is the one squarely before
us: whether civil RICO bars recovery for all business or
property harms that derive from a personal injury.
                              II
                              A
   Section 1964(c) provides that “[a]ny person injured in his
business or property by reason of a violation of [RICO] may
sue. . . .” (Emphasis added.) The ordinary meaning of “in-
jure” is to “cause harm or damage to” or to “hurt.” American
Heritage Dictionary 676 (1969); Webster’s Third New Inter-
national Dictionary 1164 (1971) (“to impair the soundness
of ”; “to inflict material damage or loss on”); Ballentine’s
Law Dictionary 626 (3d ed. 1969) (“[t]o harm; to hurt; to
wound”). “Injury,” which shares a common root, ordinarily
refers to “[d]amage of or to a person, property, reputation,
or thing.” American Heritage Dictionary, at 676; see also
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Webster’s Third New International Dictionary, at 1164.3
The meaning of the relevant phrase is therefore straight-
forward: A plaintiff has been “injured in his business or
property” if his business or property has been harmed or
damaged. Section 1964(c) requires nothing more.
   Even so, §1964(c) does not allow recovery for all harms.
Instead, by explicitly permitting recovery for harms to busi-
ness and property, it implicitly excludes recovery for harm
to one’s person. See RJR Nabisco, Inc. v. European Com-
munity, 579 U. S. 325, 350 (2016); see also A. Scalia & B.
Garner, Reading Law §10, p. 107 (2012) (“[S]pecification of
the one implies exclusion of the other”). But the “business
or property” requirement operates with respect to the kinds
of harm for which the plaintiff can recover, not the cause of
the harm for which he seeks relief. For example, if the
owner of a gas station is beaten in a robbery, he cannot re-
cover for his pain and suffering. But if his injuries force
him to shut his doors, he can recover for the loss of his busi-
ness. In short, a plaintiff can seek damages for business or
property loss regardless of whether the loss resulted from a
personal injury.
                                B
  Medical Marijuana resists this conclusion, contending
that “injured in his business or property” carries a special-
ized meaning. While “injury” ordinarily means harm, it can
also refer to the “invasion of a legal right.” Ballentine’s Law
Dictionary, at 627; see also Restatement (Second) of Torts
§7(1) (1964). Seizing on the latter definition, Medical Ma-

——————
  3 Section 1964(c), which was enacted in 1970, see 84 Stat. 944, was

modeled on a materially identical provision in the Clayton Act, which
was enacted in 1914, see 38 Stat. 731. Agency Holding Corp. v. Malley-
Duff & Associates, Inc., 483 U. S. 143, 150 (1987). “Injure” had the same
meaning then. See Webster’s New International Dictionary 1111 (1913)
(defining “injure” as “[t]o do harm to; to hurt; damage; impair” and “in-
jury” as “[d]amage or hurt done to or suffered by a person or thing”).
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rijuana, echoed by the principal dissent, argues that “in-
jured in his business or property” means “suffered an inva-
sion of a business or property right”—that is, a business or
property tort.4 The invasion of a personal right, they assert,
never gives rise to a cause of action under RICO. See Brief
for Petitioners 11, 15, 35; post, at 7 (opinion of KAVANAUGH,
J.). So if a personal-injury tort causes a business or prop-
erty harm, the plaintiff “cannot recast” his harm “as the ba-
sis for a RICO suit.” Brief for Petitioners 15.
   It is true that “injury” can mean “invasion of a legal
right.” But even in the language of lawyers, this specialized
definition is not exclusive. Ballentine’s, for example, de-
fines the full phrase “injury in his property” to mean either
“[a]n injury to his property” or “[h]arm or damage resulting
to his property directly or indirectly.” Ballentine’s Law Dic-
tionary, at 627. And Black’s defines “injury” to mean “[a]ny
wrong or damage done to another, either in his person,
rights, reputation, or property.” Black’s Law Dictionary
924 (rev. 4th ed. 1968) (emphasis added). So in legal dic-
tionaries, as in lay ones, “injury” often means “harm” or
“damage.”
   When a word carries both an ordinary and specialized
meaning, we look to context to choose between them.
United States v. Hansen, 599 U. S. 762, 775 (2023). Here,
context cuts decisively in favor of ordinary meaning. As an
——————
  4 Neither Medical Marijuana nor the principal dissent explains why

the common law of torts supplies the entire universe of relevant rights.
After all, §1964(c) also confers a legal right: a protection against business
or property harms that result from racketeering activity. Accordingly, if
a defendant’s racketeering activity causes such a harm, the defendant
has “inva[ded]” the plaintiff ’s “legally protected interest”—in other
words, has injured the plaintiff, according to Medical Marijuana and the
principal dissent’s own definition. Restatement (Second) of Torts §7(1);
see post, at 1, 5 (KAVANAUGH, J., dissenting). Under their view, then, a
civil RICO plaintiff must establish not just one but two injuries: first, a
violation of the statutory right established by §1964(c), and second, a vi-
olation of a right recognized by the common law of torts.
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initial matter, the statute uses the word “injured” rather
than “injury.” The word choice is notable, because while the
legal dictionary on which Medical Marijuana primarily re-
lies includes the specialized meaning (“invasion of a legal
right”) in the possible definitions of “injury,” it defines “in-
jured” only according to its ordinary meaning: “[h]urt, dam-
aged, [or] wounded.” Ballentine’s Law Dictionary, at 627.
It is hard to make a term-of-art argument without the term
of art.
   And although Medical Marijuana argues otherwise, the
presence of the word “damages” does not suggest that “in-
jured” conveys a specialized meaning. Recall that §1964(c)
allows “[a]ny person injured in his business or property by
reason of ” a RICO violation to “recover threefold the dam-
ages he sustains.” (Emphasis added.) Medical Marijuana
insists that the definitions of “injured” and “damages” must
be different, because “Congress’ use of ‘certain language in
one part of the statute and different language in another’
can indicate that ‘different meanings were intended.’ ”
Sebelius v. Auburn Regional Medical Center, 568 U. S. 145,
156 (2013) (quoting Sosa v. Alvarez-Machain, 542 U. S. 692,
711, n. 9 (2004)). According to Medical Marijuana, “dam-
age[s]” refers to the “loss, hurt or harm” resulting from the
RICO violation. Ballentine’s Law Dictionary, at 303. So
“injured” must mean something else—namely, “having suf-
fered an invasion of a legal right.” See Brief for Petitioners
15.
   Once again, Medical Marijuana edits the statute to make
its point. Much as it treats “injured” as interchangeable
with “injury,” it treats “damages” as interchangeable with
“damage.” Yet the distinction matters, because “damages”
has a specialized legal meaning referring to monetary re-
dress. See Ballentine’s Law Dictionary, at 303; American
Stevedores, Inc. v. Porello, 330 U. S. 446, 450, n. 6 (1947).
Section 1964(c) is best read as using “damages” in precisely
this way. By allowing a plaintiff to recover “threefold the
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damages he sustains,” the statute allows a plaintiff to re-
cover triple the amount that makes him whole. §1964(c).
And if “damages” refers to “monetary redress,” it obviously
means something different from “hurt or harmed.” Giving
“injured” its ordinary meaning, therefore, is perfectly con-
sistent with the meaningful-variation canon. Besides, Med-
ical Marijuana’s preferred definition of “damages” is unten-
able. Under it, the statute would allow a plaintiff to recover
“threefold the loss, hurt, or harm he sustains.” That makes
little sense.
                               C
                               1
   Medical Marijuana admits that “depending on context,
injury can mean harm” and that “injury, harm, and dam-
ages” can be used interchangeably. Reply Brief 8. Tell-
ingly, it ignores the many cases treating the terms synony-
mously in this very context.
   Sedima holds that “the compensable injury necessarily is
the harm caused by predicate acts sufficiently related to
constitute a pattern.” Sedima, S. P. R. L. v. Imrex Co., 473
U. S. 479, 497 (1985) (emphasis added). Tracking Sedima,
Anza is replete with language about the plaintiff ’s harms.
See, e.g., Anza v. Ideal Steel Supply Corp., 547 U. S. 451,
457 (2006) (“Ideal’s theory is that Joseph and Vincent Anza
harmed it”); id., at 458 (“To be sure, Ideal asserts it suffered
its own harms”); ibid. (“The cause of Ideal’s asserted harms,
however, is a set of actions . . . entirely distinct from the
alleged RICO violation”). The same is true of Hemi Group,
which reiterates that “in the RICO context, the focus is on
the directness of the relationship between the conduct and
the harm.” Hemi Group, LLC v. City of New York, 559 U. S.
1, 12 (2010) (emphasis added). In case after case, we have
used the words “injury,” “harm,” and other terms connoting
loss interchangeably. See, e.g., Bridge v. Phoenix Bond &
Indemnity Co., 553 U. S. 639, 644, n. 3 (2008) (“For present
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purposes, it suffices that respondents allege they ‘suffered
the loss of property related to the liens they would have
been able to acquire’ ”);5 Klehr v. A. O. Smith Corp., 521
U. S. 179, 191 (1997) (“[T]heir injuries—the harm to their
farm—have always been specific and calculable”); Holmes
v. Securities Investor Protection Corporation, 503 U. S. 258,
271 (1992) (equating “injuries” with “losses suffered”). Ac-
cepting Medical Marijuana’s argument would require an
about-face.
   Vocabulary aside, if “injured” does not mean “harmed,” it
is difficult to understand our holding in Yegiazaryan v.
Smagin. 599 U. S. 533 (2023). There, we addressed the
circumstances in which injuries to property qualify as “do-
mestic” and thus provide a basis for recovery under
§1964(c). Yegiazaryan urged us to rely on “common-law
principles governing ‘the situs’ ” of economic and property
injuries. Id., at 546–547. In his view, these principles es-
tablished a “bright-line rule”: An injury is located at the
plaintiff ’s domicile. Ibid. We rejected his argument, rea-
soning that he had not clearly explained why those princi-
ples were “germane” to §1964(c). Id., at 547. His view, we
observed, “generate[d] results . . . far afield from any rea-
sonable interpretation of what qualifies as a domestic ap-
plication of §1964(c).” Id., at 548. We instead adopted a
contextual, fact-intensive inquiry that accounts for “the na-
ture of the alleged injury, the racketeering activity that di-
rectly caused it, and the injurious aims and effects of that
activity.” Id., at 544 (footnote omitted).
——————
   5 The principal dissent thinks that Bridge supports its view, but the

opposite is true. See post, at 19 (opinion of KAVANAUGH, J.). In Bridge,
we rejected an invitation to look to a common-law tort analogue to resolve
whether the defendant’s fraudulent conduct could form the basis of a civil
RICO suit. 553 U. S., at 652. There was no reason to think, we ex-
plained, that Congress had limited §1964(c)’s reach to only “ ‘those acts
[that] would have been actionable under the common law.’ ” Ibid. In this
case, however, Medical Marijuana and the principal dissent adopt pre-
cisely that logic.
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  Medical Marijuana’s argument stands in significant ten-
sion with Yegiazaryan. Carried to its logical conclusion, a
tort-centric reading of §1964(c) would require that courts
refer to choice-of-law principles governing the “place of
wrong” when locating the situs of a RICO injury. Restate-
ment of Conflict of Laws §377 (1934). Those principles dic-
tate looking to where “the last event necessary to make an
actor liable for an alleged tort takes place.” Ibid. So there
would be no reason for a court to use a contextual approach,
surveying the “injurious effects” of the defendant’s conduct
and pinpointing where they “largely manifested.”
Yegiazaryan, 599 U. S., at 546. But this is the precise ap-
proach we outlined in Yegiazaryan. And we rejected the
petitioner’s appeal to the common law, deeming it incon-
sistent with “the thrust of §1964(c).” Id., at 548. We reach
the same conclusion here.
                               2
  Perhaps realizing that our civil RICO precedent is not on
their side, Medical Marijuana and the principal dissent
largely ignore it, insisting instead that our antitrust prece-
dent settles the issue. See post, at 8–11 (opinion of
KAVANAUGH, J.). But their reliance on antitrust law is mis-
placed.6
  Despite what the principal dissent says, antitrust law has
not “long required plaintiffs to allege business or property
injuries” that track common-law torts.7 See post, at 5–6, 10.
——————
   6 As the principal dissent itself observes: “Few antitrust violations are

likely to inflict personal injury” because “anticompetitive acts break
laws, not legs.” Post, at 13 (opinion of KAVANAUGH, J.). Well put—and
all the more reason to wonder why antitrust law is particularly helpful
here.
   7 Tellingly, the principal dissent builds its antitrust argument on a sin-

gle sentence from a century-old case about rate fixing, see Keogh v. Chi-
cago & Northwestern R. Co., 260 U. S. 156, 162 (1922), and an unadorned
citation to a District Court case, see Reiter v. Sonotone Corp., 442 U. S.
330, 339 (1979) (citing Hamman v. United States, 267 F. Supp. 420, 432
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In Radiant Burners, for example, we said that “to state a
claim” under the Sherman and Clayton Acts, “allegations
adequate to show a violation and, in a private treble dam-
age action, that [the] plaintiff was damaged thereby are all
the law requires.” Radiant Burners, Inc. v. Peoples Gas
Light & Coke Co., 364 U. S. 656, 660 (1961) (per curiam)
(emphasis added). And more recently, we observed that the
“broad text” of the Clayton Act—“ ‘any person’ who has been
‘injured’ ”—“readily covers consumers who purchase goods
or services at higher-than-competitive prices from an alleg-
edly monopolistic retailer.” Apple Inc. v. Pepper, 587 U. S.
273, 279 (2019). In neither Radiant Burners nor Apple (nor
any case in between) did we pause to ask whether “the
plaintiff ’s business or property rights” had been “legally vi-
olated” according to the common law of torts. Post, at 10
(KAVANAUGH, J., dissenting).8
   In fact, to the extent our modern antitrust precedent fore-
closes recovery for certain economic harms, it does so be-
cause of a requirement that we have expressly declined to
extend to civil RICO. Several decades ago, we interpreted
the Clayton Act to require a particular kind of injury—
namely, an “injury of the type the antitrust laws were in-
tended to prevent.” Brunswick Corp. v. Pueblo Bowl-O-
Mat, Inc., 429 U. S. 477, 489 (1977); Atlantic Richfield Co.

——————
(Mont. 1967)). Post, at 8–10 (opinion of KAVANAUGH, J.). And while the
dissent claims that we have recognized the former as “ ‘settled law,’ ” post,
at 9, n. 1, the “settled” rule of Keogh is that “tariff-related claims” do “not
give rise to treble-damages antitrust actions,” Square D Co. v. Niagara
Frontier Tariff Bureau, Inc., 476 U. S. 409, 419–420 (1986). Horn’s case,
of course, has nothing to do with tariffs.
   8 Consistent with these cases, the prominent Areeda and Hovenkamp

treatise states that the Clayton Act’s “ ‘business or property’ requirement
is virtually always satisfied provided there is some kind of injury that
can be properly characterized as economic.”                2A P. Areeda, H.
Hovenkamp, R. Blair, & C. Durrance, Antitrust Law: An Analysis of An-
titrust Principles and Their Application §336 (5th ed. 2021).
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v. USA Petroleum Co., 495 U. S. 328, 342 (1990) (This “re-
quirement . . . ensures that the harm claimed by the plain-
tiff corresponds to the rationale for finding a violation of the
antitrust laws in the first place” (emphasis added)). In
Sedima, however, we concluded that “transplant[ing]” this
cause-of-action-specific interpretation of “injured” into the
RICO context “would be inappropriate.” RJR Nabisco, 579
U. S., at 352 (describing Sedima). Rejecting the Second Cir-
cuit’s “[a]nalog[y] to the Clayton Act,” we held that a civil
RICO plaintiff need not allege a “ ‘racketeering’ ” or “ ‘RICO-
type injury’ ”; all that is required is business or property
“harm” resulting from the defendant’s “predicate acts.”
Sedima, 473 U. S., at 484–485, 495. “There is no room in
the statutory language” we explained, “for an additional,
amorphous ‘racketeering injury’ requirement.” Id., at 495;
see also Holmes, 503 U. S., at 269, n. 15 (“ ‘[A]ntitrust in-
jury’ has no analogue in the RICO setting”). In short, we
recognized then and reiterate today that the Clayton Act
and §1964(c) are not “interchangeable.” RJR Nabisco, 579
U. S., at 352.
                              D
   You can’t replace something with nothing. And aside
from its repeated assertions that “injury” means “invasion
of a legal right,” Medical Marijuana offers next to nothing
about how courts should assess whether the plaintiff has
suffered such an invasion.
   The proof lies in Medical Marijuana’s own hypotheticals.
Unable to identify a guiding principle, it lets pure intuition
do the work. It asserts that if a mobster assaults a carwash
owner and the owner does “business with the mob” as a re-
sult, the owner has suffered a “business or property injury.”
Brief for Petitioners 34. But why? The business or property
loss flowed from an assault on the carwash owner. Accord-
ing to Medical Marijuana, the example works because
“[f]orcing someone to do business with the mob instead of a
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cheaper, legitimate competitor is a prototypical business or
property injury.” Ibid. It offers nothing, however, to sup-
port this ipse dixit. What makes choosing a more expensive
business partner a “prototypical” business injury? And why
does this rationale not extend to losing your job, as Horn
did after consuming Dixie X? Medical Marijuana does not
say. 9
   Its other examples continue in the same vein. It admits
that “if Tony Soprano drains a bank account using a com-
puter password obtained by violence, Mr. Soprano has in-
jured the account holder’s property by taking his money.”
Id., at 34–35 (citation omitted). It concedes that §1964(c)
allows recovery for a ransom payment, even if a kidnap-
ping—a personal harm—was the catalyst. Id., at 34. And
it insists that a human-trafficking victim can sue for her
business or property harm, even though the harm neces-
sarily resulted from her captivity. Reply Brief 8. But if an
antecedent-personal-injury bar exists, it is unclear why any
of these plaintiffs can recover for their business or property
losses. In each scenario, the economic harm resulted from
a personal injury.
   As Medical Marijuana’s own hypotheticals reveal, defin-
ing “injured” by reference to legal rights raises difficult
questions about how to define the right at issue. And Med-
ical Marijuana’s proposed solution is illusory.10 Its reply
——————
  9 The principal dissent has the same problem. It asserts that “negli-

gently driving a car into a pedestrian” inflicts a personal injury that it
calls “wrongful invasion of the pedestrian’s physical safety.” Post, at 7
(opinion of KAVANAUGH, J.). But not even a cover-to-cover reading of the
Restatement will reveal a “wrongful invasion of physical safety” tort.
(And wisely, the dissent does not rest on the general tort of negligence,
which is not susceptible to fixed categorization as a business, property,
or personal tort.)
  10 As is the principal dissent’s. It offers the half-hearted reassurance

that ascertaining “whether a plaintiff [has] plausibly allege[d] a business
or property injury as distinct from a personal injury . . . is at least a fa-
miliar judicial exercise.” Post, at 20 (opinion of KAVANAUGH, J.). Suffice
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brief simply asserts that “plaintiffs are the masters of their
complaints and what legal rights they assert.” Id., at 4. But
how should a court determine whether the plaintiff has as-
serted a qualifying “legal right?” When asked this question
at oral argument, Medical Marijuana suggested that courts
could consult three sources: the complaint, state law, and
general tort principles. Tr. of Oral Arg. 35. Yet this list
gives rise to a host of new questions. Must a court examine
all three sources? In what order? What should it be looking
for? And what if the sources conflict?
   Start with the complaint in this very case. The parties
vigorously dispute whether Horn pleaded a personal injury.
Medical Marijuana says yes, Horn says no, and the Second
Circuit declined to address the question. See 80 F. 4th, at
135, n. 2. We express no view on which party is right, but
their disagreement exposes the gaps in Medical Mariju-
ana’s theory. Do the plaintiff ’s asserted causes of action
govern? Or must a court try to match the alleged facts with
a particular business or property tort? And what if no par-
ticular tort squarely governs the facts of the case? As Horn
notes, “harboring” undocumented immigrants and “ ‘traf-
ficking in counterfeit labels for phonorecords’ ” are just two
of many RICO predicate offenses that lack obvious tort-law
analogues. See Brief for Respondent 26; see also 18 U. S. C.
§1961(1); 8 U. S. C. §1324 (harboring); 18 U. S. C. §2318
(trafficking).
   Next, consider state law. In its briefing, Medical Mariju-
ana posits that “[i]ngesting an unwanted product” is
“plainly a personal injury,” citing two state-court opinions
as primary support. Brief for Petitioners 21 (citing Com-
monwealth v. Stratton, 114 Mass. 303, 304–305 (1873);
Gupta v. Asha Enterprises, L.L.C., 422 N. J. Super. 136,
142, 153–154, 27 A. 3d 953, 956, 963 (App. Div. 2011)). But
if state law controls, other questions arise. States need not
——————
it to say, we have our doubts.
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define their torts using the specific categories of “business,”
“person,” and “property.” Nor do all torts obviously fall into
a particular category. Some States, for example, have re-
cently recognized a tort action against medical providers
who disclose “information obtained during treatment.” See
Lawson v. Halpern-Reiss, 2019 VT 38, ¶14, 210 Vt. 224,
233, 212 A. 3d 1213, 1219; Byrne v. Avery Center for Obstet-
rics & Gynecology, P.C., 327 Conn. 540, 564–568, 175 A. 3d
1, 15–17 (2018). Does disclosure implicate a privacy inter-
est? If so, does violating that interest constitute a “personal
injury”? Or does disclosure implicate a property interest in
one’s medical information?
   Relying on state law would also create choice-of-law ques-
tions. Many RICO enterprises transcend the boundaries of
a single jurisdiction. See 18 U. S. C. §1965(a) (establishing
venue in “any district” in which the defendant “resides, is
found, has an agent, or transacts his affairs”); see also
Agency Holding Corp. v. Malley-Duff & Associates, Inc., 483
U. S. 143, 154 (1987) (“[P]redicate acts will often occur in
several States”). Which jurisdiction must supply the neces-
sary tort-law analogue? Is it where the plaintiff felt her in-
jury? Where the defendant engaged in the racketeering ac-
tivity? Where the majority of the enterprise resides?
   The third source on Medical Marijuana’s list—general
tort law—avoids the choice-of-law concern but has theoret-
ical problems of its own. For one, like state tort law, general
tort law does not always clearly distinguish between “busi-
ness,” “personal,” and “property” torts. For another, gen-
eral tort law is neither static nor uniform. See Air & Liquid
Systems Corp. v. DeVries, 586 U. S. 446, 453 (2019) (observ-
ing that “the federal and state courts ha[d] not reached con-
sensus on how to apply” a particular principle of general
tort law). When a majority rule does not exist, when the
law is unsettled, or when there is no analogous tort, defer-
ring to general tort principles is difficult, to say the least.
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                         *   *     *
   Medical Marijuana tries valiantly to engineer a rule that
yields its preferred outcomes. (Civil RICO should permit
suit against Tony Soprano, but not against an ordinary tort-
feasor.) But its textual hook—the word “injured”—does not
give it enough to go on. When all is said and done, Medical
Marijuana is left fighting the most natural interpretation
of the text—that “injured” means “harmed”—with no plau-
sible alternative in hand. That is a battle it cannot win.
                              III
   Medical Marijuana, together with the principal dissent,
warn that the Second Circuit’s rule will eviscerate RICO’s
“business or property” limitation. See post, at 12 (opinion
of KAVANAUGH, J.). In their view, a plaintiff can character-
ize any economic harm flowing from a personal injury as a
harm to his business or property. Hence, they say, plain-
tiffs can easily transform garden-variety personal-injury
claims into RICO suits for treble damages. While we un-
derstand the concern, Medical Marijuana and the dissent
understate other constraints on civil RICO claims.
   First and foremost is RICO’s direct-relationship require-
ment. Time and again, we have reiterated that §1964(c)’s
“by reason of ” language demands “some direct relation be-
tween the injury asserted and the injurious conduct al-
leged.” Holmes, 503 U. S., at 268. The key word is “direct”;
foreseeability does not cut it. Hemi Group, 559 U. S., at 12.
Rather, whenever the plaintiff ’s theory of causation re-
quires moving “well beyond the first step,” it “cannot meet
RICO’s direct relationship requirement.” Id., at 10.
   Given the number of steps in Horn’s theory and the mul-
tiple actors involved, this requirement may present an in-
surmountable obstacle in his case. Indeed, even Horn con-
cedes that he faces “a heavy burden on remand.” Tr. of Oral
Arg. 45, 63, 70. There is, after all, some distance between
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the first link in the chain (Medical Marijuana’s misrepre-
sentations) and the last (Horn’s job loss).
   Second, pleading a RICO claim is not as simple as point-
ing to a business or property harm. A plaintiff must first
establish a pattern of racketeering activity. 18 U. S. C.
§§1962, 1964(c). Doing so requires identifying two or more
predicate crimes “within a single scheme that were related
and that amounted to, or threatened the likelihood of, con-
tinued criminal activity.” H. J. Inc. v. Northwestern Bell
Telephone Co., 492 U. S. 229, 237 (1989); see also §§1961(1)
and (5), 1962. So harm resulting from a single tort is not a
ticket to federal court for treble damages.
   Third, the reach of §1964(c) turns on more than the
meaning of “injured.” As we noted at the outset, “business”
may not encompass every aspect of employment, and “prop-
erty” may not include every penny in the plaintiff ’s pocket-
book. Accordingly, not every monetary harm—be it lost
wages, medical expenses, or otherwise—necessarily impli-
cates RICO. Medical Marijuana brushes away this possi-
bility, instead attributing the broadest definitions to both
terms.
   All of this said, civil RICO has undeniably evolved “into
something quite different from the original conception of its
enactors.” Sedima, 473 U. S., at 500. More suits are
brought against ordinary businesses than against “arche-
typal, intimidating mobster[s],” id., at 499, and given this
development, Medical Marijuana is not the first litigant to
express concern about “the ‘over-federalization’ of tradi-
tional state-law claims,” Bridge, 553 U. S., at 659. But we
respond today as we have before: If the breadth of the stat-
ute “leads to the undue proliferation of RICO suits, the ‘cor-
rection must lie with Congress.’ ” Id., at 660 (quoting
Sedima, 473 U. S., at 499); see also H. J. Inc., 492 U. S., at
248–249; Boyle v. United States, 556 U. S. 938, 950–951
(2009).
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                        *    *    *
  The phrase “injured in his business or property” does not
preclude recovery for all economic harms that result from
personal injuries. We therefore affirm the Second Circuit’s
judgment and remand the case for further proceedings con-
sistent with this opinion.
                                            It is so ordered.
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                    JACKSON, J., concurring

SUPREME COURT OF THE UNITED STATES
                         _________________

                          No. 23–365
                         _________________


MEDICAL MARIJUANA, INC., ET AL., PETITIONERS v.
             DOUGLAS J. HORN
 ON WRIT OF CERTIORARI TO THE UNITED STATES COURT OF
           APPEALS FOR THE SECOND CIRCUIT
                        [April 2, 2025]

  JUSTICE JACKSON, concurring.
  When Congress speaks, courts should listen. Congress
has instructed that the Racketeer Influenced and Corrupt
Organizations Act (RICO) “shall be liberally construed to
effectuate its remedial purposes.” §904(a), 84 Stat. 947.
That instruction applies with particular force to the reme-
dial provision of RICO at issue in this case, 18 U. S. C.
§1964(c), which creates “a private action for those injured
by racketeering activity.” Sedima, S. P. R. L. v. Imrex Co.,
473 U. S. 479, 498 (1985). In rejecting petitioners’ attempts
to add atextual hurdles to §1964(c), today’s decision accords
with Congress’s liberal-construction directive. In my view,
that provides one more reason that the decision is right.
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                     THOMAS, J., dissenting

SUPREME COURT OF THE UNITED STATES
                          _________________

                           No. 23–365
                          _________________


MEDICAL MARIJUANA, INC., ET AL., PETITIONERS v.
             DOUGLAS J. HORN
 ON WRIT OF CERTIORARI TO THE UNITED STATES COURT OF
           APPEALS FOR THE SECOND CIRCUIT
                         [April 2, 2025]

  JUSTICE THOMAS, dissenting.
  The Racketeer Influenced and Corrupt Organizations Act
(RICO) allows any person “injured in his business or prop-
erty by reason of ” racketeering activity to bring a civil suit
for damages. 18 U. S. C. §1964(c). All agree that this “civil
RICO” statute forbids suits based on “personal injuries.”
RJR Nabisco, Inc. v. European Community, 579 U. S. 325,
348, 350 (2016). We granted certiorari in this case to re-
solve a Circuit split on “[w]hether economic harms resulting
from personal injuries” are “injuries to ‘business or prop-
erty’ ” under civil RICO or are instead personal-injury dam-
ages. Pet. for Cert. i. But, this case has proved ill suited
for deciding the question presented. The parties dispute an
important threshold issue: whether the plaintiff here suf-
fered a personal injury in the first place. And, they have
inadequately briefed their views on the meaning of the key
statutory phrase “injured in his business or property.”
§1964(c). Perhaps due to these difficulties, the Court today
issues a narrow opinion that elides the parties’ primary dis-
putes. Rather than opine on ancillary issues, I would dis-
miss the writ of certiorari as improvidently granted. I re-
spectfully dissent.
                             I
  Plaintiff Douglas Horn lost his job as a commercial truck
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                         THOMAS, J., dissenting

driver after a random drug test revealed tetrahydrocanna-
binol (THC) in his system. Horn asserts that the THC came
from his ingestion of Dixie X, an over-the-counter medicinal
product manufactured and sold by Medical Marijuana,
Inc.* Medical Marijuana advertised Dixie X as THC-free,
but a third-party laboratory detected THC in the product.
   Horn sued Medical Marijuana in Federal District Court,
alleging various state-law claims and a violation of civil
RICO. To establish a civil RICO violation, a plaintiff must
prove that a defendant engaged in a “pattern of racketeer-
ing activity” that caused the plaintiff to be “injured in his
business or property.” §§1962, 1964(c). Horn alleged that
Medical Marijuana engaged in mail and wire fraud—forms
of racketeering activity under RICO—and that, as a result,
he suffered a business or property injury in the form of lost
employment.
   Medical Marijuana moved for summary judgment on
some of Horn’s state-law claims on the ground that Horn
had not suffered a personal injury, an essential element of
those claims. Specifically, Medical Marijuana asserted that
Horn had “failed to produce any evidence or testimony that
[he] suffered any bodily injury from ingesting Dixie X.”
Memorandum of Law in Support of Defendants et al. in
No. 15–cv–701 (WDNY, Aug. 30, 2018), ECF Doc. 62–1,
p. 27. In Medical Marijuana’s view, “[t]he only loss” Horn
even “attempted to establish through discovery” was that
he lost his “jo[b] and . . . source of income.” Ibid.
   The District Court accepted Medical Marijuana’s argu-
ment and rejected some of Horn’s state-law claims based on
his failure to establish a personal injury. 383 F. Supp. 3d
114, 134 (WDNY 2019). The court explained that although
Horn seeks damages for “economic losses,” he does “not
——————
  *Petitioners include Medical Marijuana, Inc., Red Dice Holdings, LLC,
and Dixie Holdings, LLC, all of which were involved in the production
and sale of Dixie X. I refer to petitioners as Medical Marijuana through-
out this opinion.
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                     THOMAS, J., dissenting

claim that [he] suffered any personal injury . . . as a result
of [Medical Marijuana’s] conduct.” Ibid.
   The District Court’s summary judgment ruling left two
claims for trial: a state-law fraudulent inducement claim
and the civil RICO claim.
   On the eve of trial, Medical Marijuana argued for the first
time that Horn’s civil RICO claim failed as a matter of law
because it was based on a “personal injury.” Memorandum
of Law in Reply to Motion In Limine in No. 15–cv–701
(WDNY, Aug. 2, 2021), ECF Doc. 200, p. 4. It asserted that
the only injury Horn alleged was the unwanted “in-
gest[ion]” of “trace amounts of THC,” and that this kind of
injury “is, fundamentally, a type of ‘personal injury.’ ” Id.,
at 10, 12. Horn’s lost wages, according to Medical Mariju-
ana, were merely “damages” that “derive from a personal
injury,” and thus “are not recoverable under . . . civil RICO.”
Id., at 5 (capitalization and boldface deleted).
   Notwithstanding its earlier determination that Horn had
not suffered a personal injury for purposes of the state-law
claims, the District Court adopted Medical Marijuana’s new
theory and held that Horn’s civil RICO claim was based on
an impermissible “personal injury: the bodily invasion that
[Horn] suffered when he unwittingly ingested THC.” 2021
WL 4173195, *3 (WDNY, Sept. 14, 2021). And, because civil
RICO precludes suits based on personal injuries, the Dis-
trict Court determined that Horn’s civil RICO claim
“fail[ed] as a matter of law.” Id., at *5. The District Court
granted partial final judgment on the civil RICO claim to
allow Horn to appeal.
   Before the Second Circuit, Horn did not contest the Dis-
trict Court’s holding that civil RICO excludes suits based on
economic harms resulting from personal injuries. Rather,
he argued that he had not suffered a personal injury in the
first place.
   The Second Circuit declined to decide whether Horn had
suffered a personal injury. Instead, the court resolved what
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it described as the “logically antecedent legal question”:
whether civil RICO “bars a plaintiff from suing for injuries
to business or property simply because they flow from, or
are derivative of, a personal injury.” 80 F. 4th 130, 135, n. 2
(2023). Deepening a Circuit split, the Second Circuit held
that civil RICO permits a plaintiff to sue for injuries to busi-
ness or property that “flow from, or are derivative of, an an-
tecedent personal injury.” Id., at 135.
   Medical Marijuana petitioned this Court for certiorari,
asking us to decide whether economic harms resulting from
personal injuries are injuries to “business or property” un-
der civil RICO. Pet. for Cert. i. It assured us that “[t]his
case cleanly tees that circuit split up for resolution,” and
that the case would “tur[n] on a narrow, dispositive, and
discrete question of statutory interpretation that requires
little analysis of the underlying facts.” Id., at 4 (internal
quotation marks omitted). We granted certiorari. 601 U. S.
___ (2024).
                             II
  I would dismiss the writ of certiorari as improvidently
granted. The question presented has divided the Circuits
and merits this Court’s attention. But, the parties dispute
an important, factbound, threshold issue that the court be-
low did not pass upon. And, the intertwined question of
how to define a civil RICO injury is inadequately briefed.
                              A
  We took this case to decide whether economic losses flow-
ing from personal injuries are injuries to business or prop-
erty for purposes of civil RICO, or merely damages. That
question necessarily assumes the existence of a personal in-
jury as the starting point.
  Yet, in this case, the parties vigorously contest whether
Horn suffered a personal injury at all. Despite its earlier
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theory that Horn had not suffered a personal injury, see su-
pra, at 2–3, Medical Marijuana now argues that “Horn suf-
fered a quintessential personal injury” by “ingesting an un-
wanted substance.” Brief for Petitioners 20. Horn, by
contrast, contends that he “did not suffer any harm to his
person,” and that his injuries were only economic in nature.
Tr. of Oral Arg. 67; Brief for Respondent 29.
   The Second Circuit expressly sidestepped the question
whether Horn suffered a personal injury by ingesting Dixie
X. 80 F. 4th, at 135, n. 2. The only court to have passed on
the issue—the District Court—expressed different views at
different points. See supra, at 2–3.
   I would not decide whether losses flowing from personal
injuries are injuries to business or property in a case where
no one knows whether the plaintiff suffered a personal in-
jury in the first place. If Horn did not suffer a personal in-
jury, then our resolution of the question presented will have
no bearing on this case. Because federal courts may not
“render advisory opinions . . . advising what the law would
be upon a hypothetical state of facts,” Preiser v. Newkirk,
422 U. S. 395, 401 (1975) (internal quotation marks omit-
ted), we ordinarily do not decide matters unless we know
that our decision will have some import for the parties be-
fore us. Given the lack of clarity on whether Horn suffered
a personal injury, we cannot be assured that our resolution
of the question presented would affect the parties here.
   Even if resolving a question that might not affect these
parties is “a permissible course, it does not strike me as the
most sensible one.” Warner Chappell Music, Inc. v. Nealy,
601 U. S. 366, 376 (2024) (GORSUCH, J., dissenting). The
question presented asks us to analyze the nature of losses
that flow from a personal injury. It is difficult to analyze
the nature of downstream losses when the nature of the in-
itial event is unknown. Medical Marijuana asserts that the
kind of loss at issue here—lost wages—can sometimes con-
stitute an “injury,” depending on the circumstances and the
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event from which the lost wages flow. Reply Brief 15. That
we do not know whether this case involves a personal injury
severely “complicates our inquiry,” and thus counsels in fa-
vor of dismissing the writ of certiorari as improvidently
granted. McDonough v. Smith, 588 U. S. 109, 125 (2019)
(THOMAS, J., dissenting); accord, Arizona v. City and
County of San Francisco, 596 U. S. 763, 766 (2022)
(ROBERTS, C. J., concurring) (concurring in the dismissal of
the writ of certiorari as improvidently granted because
other contested issues “could stand in the way of our reach-
ing the question presented . . . or at the very least, compli-
cate our resolution of that question”).
   Of course, we could decide for ourselves whether Horn
suffered a personal injury. But, “we are a court of review,
not of first view.” Cutter v. Wilkinson, 544 U. S. 709, 718,
n. 7 (2005). And, whether Horn suffered a personal injury
is a case-specific factual finding. Such questions do not or-
dinarily merit our review. See this Court’s Rule 10.
   Moreover, it is not clear to me that Medical Marijuana is
even entitled to argue that Horn suffered a personal injury.
The rule of judicial estoppel “ ‘generally prevents a party
from prevailing in one phase of a case on an argument and
then relying on a contradictory argument to prevail in an-
other phase.’ ” New Hampshire v. Maine, 532 U. S. 742, 749
(2001). Medical Marijuana initially argued that Horn had
not alleged a cognizable personal injury. See supra, at 2.
The District Court agreed and dismissed some of Horn’s
state-law tort claims on that ground. Then, shortly before
trial, Medical Marijuana argued that the remaining civil
RICO claim failed because Horn had based the claim on a
personal injury. Horn has made a nonfrivolous argument
that Medical Marijuana should be judicially estopped from
arguing that he suffered a personal injury. Brief in Oppo-
sition 19–20. Depending on the outcome before this Court,
the estoppel issue could be litigated on remand. This addi-
tional complication is yet another reason to dismiss the writ
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of certiorari as improvidently granted.
   Resolving the question presented would be far more
straightforward in a case where the personal injury is be-
yond dispute. For example, imagine a case in which rack-
eteering activity inflicts a classic personal injury—such as
a broken arm—and as a result, the plaintiff suffers eco-
nomic loss in the form of medical expenses. Such a case
would cleanly tee up the question dividing the Circuits:
whether the economic loss flowing from a personal injury
qualifies as an injury to business or property under civil
RICO.
   The question presented is important and merits our at-
tention. But, we should save the question for a case where
all agree that the plaintiff suffered a personal injury and
where our resolution of the question will unambiguously
matter.
                               B
  The question presented is also bound up with a related
question—that is, the definition of the phrase “injured in
his business or property” in civil RICO. §1964(c). To un-
derstand whether Horn’s civil RICO claim is based on an
“injur[y] in his business or property,” it would be helpful to
understand the meaning of that phrase in the civil RICO
statute. Ibid. But, I would not decide that weighty question
here because the court below did not do so, and neither
party offers a complete definition of the phrase.
  The Second Circuit did not decide the meaning of “injured
in his business or property.” Ibid. In its view, “[b]y using
the disjunctive ‘or’ to separate ‘business’ from ‘property,’
Congress made clear that ‘business’ was not intended to
modify ‘property,’ nor was ‘property’ intended to modify
‘business.’ ” 80 F. 4th, at 135–136. Thus, the Second Circuit
evaluated the meaning of “business” without considering
the meaning of “property.” Id., at 136.
  Similarly, neither party offers a complete definition of
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“injured in his business or property.” §1964(c). Horn ar-
gues that an injury to “business” is any harm to one’s em-
ployment, and employment, in Horn’s view, “embraces eve-
rything about which a person can be employed.” Brief for
Respondent 12 (internal quotation marks omitted). But,
Horn says little about what it means to be “injured in his
. . . property.” §1964(c). Medical Marijuana, for its part,
argues that an injury to business or property is the invasion
of a legal right that one holds in his business or property.
Brief for Petitioners 11. But, nowhere does Medical Mari-
juana tell us exactly how it would define those legal rights.
At times it has suggested that courts should look to state
tort law, but, it says little about how courts should assess
whether the plaintiff has suffered a qualifying tort. Given
the state of the briefing on this matter, we are not well po-
sitioned to decide the meaning of “injured in his business or
property” in this case. §1964(c).
    In my view, the Court should interpret the meaning of
“injured in his business or property” in its entirety. The
ordinary rule is that “a word is known by the company it
keeps.” Dubin v. United States, 599 U. S. 110, 124 (2023)
(internal quotation marks omitted). Thus, the meaning of
“property”—and the way that courts determine the mean-
ing of that term—is likely to bear on the meaning of “busi-
ness.” It may be important that a number of courts have
held that “whether a particular interest amounts to prop-
erty is quintessentially a question of state law.” Doe v. Roe,
958 F. 2d 763, 768 (CA7 1992) (citing Logan v. Zimmerman
Brush Co., 455 U. S. 422, 430 (1982)); see also Price v. Pin-
nacle Brands, Inc., 138 F. 3d 602, 607 (CA5 1998) (per cu-
riam) (explaining that courts “may look to state law to de-
termine, for RICO purposes, whether a property interest
exists”). Until we are prepared to define the entirety of the
phrase “injured in his business or property,” my preference
is to say nothing at all.
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                               III
   The Court’s opinion underscores why we should dismiss
the writ of certiorari as improvidently granted. Perhaps
due to the difficulties described above, the Court declines to
resolve the question presented. It also declines to offer de-
finitive guidance on what it means for a plaintiff to be “in-
jured in his business or property.” §1964(c). Instead, as
JUSTICE KAVANAUGH explains, “the Court charts an unu-
sual middle way.” Post, at 3 (dissenting opinion). It affirms
a component of the Second Circuit’s decision that no party
seems to dispute. It then defines one word within the dis-
puted statutory phrase, leaving the most critical and out-
come-determinative issues for another day. If these limited
holdings are the most we can offer, then our grant of certi-
orari was plainly improvident.
                              A
  The Court affirms the Second Circuit’s conclusion that
civil RICO “does not preclude recovery for all economic
harms that result from personal injuries.” Ante, at 19. In
other words, the Court affirms the Second Circuit’s deter-
mination that civil RICO does not contain a so-called “ante-
cedent-personal-injury bar.” 80 F. 4th, at 137. But, as far
as I can tell, no party has ever contested that point.
  The “antecedent-personal-injury bar” appears to be a con-
cept invented by the Second Circuit. The bar, if applied to
civil RICO, would preclude a plaintiff from recovering for
an injury to business or property simply because the injury
happens to follow a personal injury in the causal chain. In
other words, the theory goes, once the plaintiff suffers a per-
sonal injury, he may not recover for any subsequent injuries
to his business or property that follow or flow from it.
  In my view, the majority misunderstands Medical Mari-
juana to be advocating for that rule. See ante, at 14. The
majority describes the “only question” before us as “whether
civil RICO bars recovery for all business or property harms
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that derive from a personal injury.” Ante, at 5. But, that
reformulation of the question presented miscasts Medical
Marijuana’s argument. Medical Marijuana concedes that
some harms to business or property are actionable under
civil RICO, even if they follow or flow from a personal in-
jury. See Brief for Petitioners 33–34. Its point is that not
all harms to business or property are injuries to business or
property under civil RICO. In its view, some economic
harms—such as medical expenses, or, as relevant here,
some forms of lost wages—are better conceived of as dam-
ages. Thus, the question squarely before us is whether the
economic harms in this case—Horn’s lost wages—consti-
tute a cognizable injury to business or property under civil
RICO or are instead personal-injury damages.
   I agree with the Court’s conclusion that civil RICO does
not bar recovery for all economic harms that result from a
personal injury. So do the other dissenters. Post, at 20–21
(opinion of KAVANAUGH, J.). And, as far as I can tell, so do
all the parties and the court below. See Brief for Petitioners
34; Brief for Respondent 18–21; 80 F. 4th, at 137. We do
not ordinarily take a case to settle an issue on which there
is no disagreement.
                              B
  The Court’s other holding is that “injured” in civil RICO
means “harmed.” Ante, at 5–6. But, defining one word
within the phrase “injured in his business or property,”
§1964(c), sidesteps the core of the parties’ disagreement.
  The parties dispute the meaning of the phrase “injured in
his business or property.” §1964(c). Although the parties
would define “injured” in slightly different terms, their big-
gest disagreement concerns what is injured or harmed. Ac-
cording to Horn, a plaintiff can bring a civil RICO suit so
long as his business—broadly defined to mean “everything”
about employment—is harmed. Brief for Respondent 12
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(internal quotation marks omitted). And, according to Med-
ical Marijuana, a plaintiff can bring a civil RICO suit only
if his legally protected right in his business or property is
invaded (or, in other words, injured or harmed). See Brief
for Petitioners 11. The modest conclusion that “injured”
means “harmed” leaves the scope of the relevant harm un-
resolved.
   The Court’s limited holding is bound to “leave substantial
confusion and litigation in its wake.” Post, at 25 (opinion of
KAVANAUGH, J.). Notwithstanding its decision to affirm,
the Court is unwilling to say that Horn has alleged a cog-
nizable injury to his business under civil RICO. The Court
makes clear that it is not deciding whether the Second Cir-
cuit correctly interpreted “business” to encompass “employ-
ment.” Ante, at 5. The Court also makes clear that it is not
deciding the definition of “property.” Ibid. I appreciate the
hesitation to define an entire phrase in a case where neither
party offers a complete definition. But, rather than define
one word in isolation, I would wait for a better case.
                        *     *    *
  The decision below implicates a genuine Circuit split, but
the parties dispute a factbound, threshold issue that di-
rectly bears on the question presented. And, the related is-
sue of how to define “injured in his business or property,”
§1964(c), was not decided below and is inadequately
briefed. I would therefore dismiss the writ of certiorari as
improvidently granted. I respectfully dissent.
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SUPREME COURT OF THE UNITED STATES
                          _________________

                           No. 23–365
                          _________________


MEDICAL MARIJUANA, INC., ET AL., PETITIONERS v.
             DOUGLAS J. HORN
 ON WRIT OF CERTIORARI TO THE UNITED STATES COURT OF
           APPEALS FOR THE SECOND CIRCUIT
                         [April 2, 2025]

  JUSTICE KAVANAUGH, with whom THE CHIEF JUSTICE
and JUSTICE ALITO join, dissenting.
  The Racketeer Influenced and Corrupt Organizations
Act, known as RICO, provides that any “person injured in
his business or property by reason of a violation” of the Act
“shall recover threefold the damages he sustains.” 18
U. S. C. §1964(c) (emphasis added). Under the text of
RICO, therefore, a plaintiff may sue for “business or
property” injuries, and he may seek recovery of the
damages he sustains from those injuries. But a plaintiff
may not sue for “personal injuries.” RJR Nabisco, Inc. v.
European Community, 579 U. S. 325, 350 (2016).
  Importantly, and key to my disagreement with the
Court’s opinion in this case, the term “injured” is a tort-law
term of art and therefore “should be given its established
common-law meaning.” United States v. Castleman, 572
U. S. 157, 163 (2014) (quotation marks omitted). In tort
law, the term “injured” means to have suffered “the
invasion of any legally protected interest.” Restatement
(Second) of Torts §7(1) (1964). Personal, property, and
business injuries all have well-defined meanings in tort
law: They mean the invasion of a legal right in one’s person,
property, or business, respectively.
  The dispute in this case arises because personal injuries
in tort law, and thus also in RICO cases, often result in
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losses or damages that are related to the victim’s business
or property. For example, personal injuries from defective
products or car accidents often lead to lost wages (loss of
“business” according to plaintiff Horn) and medical
expenses (loss of “property” according to Horn).
  So the fundamental question here is whether business or
property losses from a personal injury transform a
traditional personal-injury suit into a business-injury or
property-injury suit that can be brought in federal court for
treble damages under RICO. Plaintiff Horn and the Second
Circuit say that the answer is yes. Defendant Medical
Marijuana, as well as the Sixth, Seventh, and Eleventh
Circuits, contend that the answer is no—that RICO does
not authorize suits for personal injuries regardless of what
losses or damages a victim sustains from a personal injury.
I agree with defendant Medical Marijuana and the Sixth,
Seventh, and Eleventh Circuits.
  A plaintiff cannot circumvent RICO’s categorical
exclusion of personal-injury suits simply by alleging that a
personal injury resulted in losses of business or property,
thereby converting otherwise excluded personal-injury
suits into business- or property-injury suits. If the rule
were otherwise, as plaintiff Horn advocates here, RICO
would federalize many traditional personal-injury tort
suits. When enacting civil RICO in 1970, Congress did not
purport to usher in such a massive change to the American
tort system. As the Eleventh Circuit rightly said, if
“Congress intended to create a federal treble damages
remedy for cases involving bodily injury, injury to
reputation, mental or emotional anguish, or the like, all of
which will cause some financial loss, it could have enacted
a statute referring to injury generally, without any
restrictive language.” Grogan v. Platt, 835 F. 2d 844, 847
(1988) (quotation marks omitted). Congress did not enact
such a statute. On the contrary, it excluded personal-injury
suits. And it is not remotely plausible to conclude that
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Congress excluded personal-injury suits under RICO and
then turned around and somehow still implicitly authorized
most personal-injury suits under RICO.
  For its part, the Court today neither fully agrees with
plaintiff Horn and the Second Circuit, nor fully agrees with
defendant Medical Marijuana and the Sixth, Seventh, and
Eleventh Circuits. Instead, the Court charts an unusual
middle way. The Court agrees with Horn that the term
“injured” in RICO is not a tort-law term of art and therefore
should be read according to its ordinary conversational
meaning, rather than its longstanding legal meaning.
Therefore, the Court agrees with Horn that personal-injury
suits are not excluded by RICO so long as the personal
injuries lead to “business or property loss.” Ante, at 6. But
the Court then declines to decide whether lost wages and
medical expenses (which are among the most common
economic damages in personal-injury suits) qualify as
business or property losses recoverable in those RICO suits.
  By concluding that traditional personal-injury suits are
not excluded by RICO and then punting on the critical
questions of whether lost wages and medical expenses are
recoverable losses of business or property in those RICO
suits, the Court’s opinion both errs on the law and leaves
substantial confusion in its wake. The aftermath of the
Court’s opinion could be quite a mess, as courts grapple
with RICO personal-injury cases where the question is
what losses qualify as business or property losses.
  Unlike the Court, I would heed the text of the statute,
recognize that the term “injured” in RICO is a longstanding
tort-law term of art, and keep things relatively simple:
RICO excludes suits for personal injuries, regardless of
what losses or damages ensue from those personal injuries.
                           I
  For three reasons, I conclude that RICO does not
authorize suits for personal injuries even when those
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personal injuries result in losses or damages related to one’s
business or property: (1) the text of RICO excludes
personal-injury suits and incorporates traditional tort-law
principles about what injury means; (2) this Court’s
antitrust precedents, which interpret the same “injured in
his business or property” language on which RICO was
deliberately modeled, confirm that RICO excludes all losses
resulting solely from personal injuries; and (3) the
federalism canon counsels against federalizing large
swaths of ordinary state-court tort cases absent clear
direction from Congress.
                              A
  First is the statutory text. RICO expressly distinguishes
among different kinds of injuries—personal injuries versus
business or property injuries.
  When it enacted RICO in 1970, Congress did not pluck
the word “injured” out of thin air. Rather, Congress
adopted language that comes straight from longstanding
tort-law principles.     And those longstanding tort-law
principles matter when courts construe RICO:               In
interpreting statutory torts, this Court starts “from the
premise that when Congress creates a federal tort it adopts
the background of general tort law.” Staub v. Proctor
Hospital, 562 U. S. 411, 417 (2011). Therefore, to define the
scope of civil RICO’s cause of action, this Court has
repeatedly looked to “general common-law” tort principles
regarding “legal injury.” Bridge v. Phoenix Bond &
Indemnity Co., 553 U. S. 639, 656 (2008); see Beck v. Prupis,
529 U. S. 494, 500–501 (2000).
  Stated otherwise, “injured” is a “common-law term of art”
that “should be given its established common-law
meaning.” United States v. Castleman, 572 U. S. 157, 163
(2014) (quotation marks omitted). Here, as elsewhere,
when “Congress transplants a common-law term, the ‘old
soil’ comes with it.” United States v. Hansen, 599 U. S. 762,
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778 (2023) (quotation marks omitted).
   What constitutes injury as a matter of traditional tort
law? For tort-law purposes, injury is the infringement of a
legal right—“the invasion of any legally protected interest
of another.” Restatement (Second) of Torts §7(1).
   And with injury so defined, Congress’s “cabining RICO’s
private cause of action to particular kinds of injury”—
business or property injuries, not personal injuries—makes
perfect sense. RJR Nabisco, Inc. v. European Community,
579 U. S. 325, 350 (2016). That is because tort law has long
categorized different kinds of legal injuries along precisely
those lines.
   Personal injury includes “acts constituting a tort because
intended or likely to cause bodily harm or emotional
distress.” Restatement (Second) of Torts §924, Comment a
(1977); see id., ch. 2, Introductory Note, at 22; Ballentine’s
Law Dictionary 941 (3d ed. 1969). Typical personal-injury
claims may involve, for example, car accidents or defective
products.
   Property injury—like trespass or conversion—is an act
“materially affecting the capacity of particular property for
ordinary use and enjoyment” or “the diminishing” of one’s
“property” by tortious means. Ballentine’s, at 627; see
Chattanooga Foundry & Pipe Works v. Atlanta, 203 U. S.
390, 396, 398–399 (1906).
   Those categories are long and widely recognized. In
detailing the “several injuries cognizable by the courts of
common law,” Blackstone separated “wrongs or injuries
that affected the rights of persons” from “such injuries as
affect the rights of property.”          3 W. Blackstone,
Commentaries on the Laws of England 115, 144 (1768). As
one court phrased it 150 years later, actions “to recover
damages caused by bodily injuries, or by injuries to
property,” were “well known as distinct classes of actions”
and “each separately treated in the text books of law”—and
“so clearly distinguished” that “there is no difficulty in
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recognizing and classifying them.” Gridley v. Fellows, 166
Cal. 765, 769, 138 P. 355, 357 (1914); see Kelley v. Boyne,
239 Mich. 204, 213, 214 N. W. 316, 319 (1927).
  Business injury such as unfair competition and tortious
interference with contract eventually developed into its
own standalone tort-law category, distinct from personal or
property injury. By the late 19th and early 20th centuries,
courts and commentators embraced the general principle
that “to interfere with a man’s trade by a malicious act is
actionable” because it violates “a concrete right as distinct
as his right to his lands and chattels, one which imposes on
his fellows a correlative duty, the breach of which is a tort.”
E. McClennen, Some of the Rights of Traders and Laborers,
16 Harv. L. Rev. 237, 237–238, 241 (1903); cf. F. Cooke, The
Law of Combinations, Monopolies and Labor Unions §7 (2d
ed. 1909). And by 1938, the First Restatement included a
division titled “Interference with Business Relations” that
described trade-related wrongs like unfair competition and
tortious interference with contract. See Restatement
(First) of Torts, div. 9.
  In short, tort law has long distinguished personal-injury
suits from business-injury or property-injury suits. And
RICO incorporated that traditional distinction into the
statutory text. Like some of the States, Congress could
have decided to authorize RICO suits for any person who
has been “injured,” period, which would have covered
personal-injury suits as well as business- or property-injury
suits. See Ga. Code Ann. §16–14–6(c) (2024); Fla. Stat.
§772.104(1) (2023). But Congress instead decided to limit
civil RICO suits to plaintiffs who have been “injured in”
their “business or property.”
  More specifically, RICO’s private right of action is
available to a person who has suffered a business or
property injury “by reason of a violation” of RICO. §1964(c).
And a RICO violation generally requires the defendant to
have engaged in a “pattern of racketeering activity,” where
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“racketeering activity” includes conduct chargeable as any
of a host of state- and federal-law crimes, such as money
laundering, extortion, and mail or wire fraud, to take some
common examples. §1962; see §§1961(1), (5). The question
for a court under civil RICO is simply whether the plaintiff
was “injured in his business or property by reason of ”
whatever the defendant did to violate RICO. §1964(c).
   One further important point: Under tort law, injury is
distinct from the losses or damages that result from an
injury.      Since before the Founding, courts have
distinguished “injury” from “damage.” Uzuegbunam v.
Preczewski, 592 U. S. 279, 286 (2021) (citing Cable v.
Rogers, 3 Bulst. 311, 312, 81 Eng. Rep. 259 (K. B. 1625)).
Stated simply, injury is “the illegal invasion of a legal right;
damage is the loss, hurt, or harm which results from the
injury.” Ballentine’s, at 303; see Black’s Law Dictionary
466 (rev. 4th ed. 1968).
   For example, negligently driving a car into a pedestrian
inflicts a legal injury on the pedestrian—wrongful invasion
of the pedestrian’s physical safety. The pedestrian’s losses
or damages resulting from the injury typically will include
his lost wages and medical expenses, among other things
like pain and suffering. The injury (the hit from the
negligently driven car) gives the pedestrian a right to sue;
the lost wages, medical expenses, and pain and suffering
that follow are damages that a plaintiff may be able to
recover for the injury. See Restatement (Second) of Torts
§§910, 912, Comment a.
   All of that means that when a victim suffers only a
personal injury (such as from a car accident or defective
product), his lost wages and medical expenses are merely
the losses or damages that result from that personal injury,
not themselves a separate business or property injury—
that is, not a distinct infringement of a legal right in one’s
business or property.
   Therefore, a victim who suffers only a personal injury “by
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reason of ” a RICO violation has not been “injured” in his
“business or property,” even if that personal injury leads
him to lose wages or incur medical expenses. That victim
may not sue under RICO.
                                B
  This Court’s antitrust precedents further confirm that
RICO’s exclusion of personal-injury suits means what it
says and cannot be circumvented by recharacterizing
personal-injury losses or damages (such as lost wages or
medical expenses) as their own standalone business or
property injuries.
  By the time Congress enacted RICO in 1970, this Court
had already interpreted identical text in the antitrust
laws—“injured in his business or property”—to adhere to
the traditional tort-law understanding of business or
property injuries as distinct from personal injuries. Those
prior antitrust holdings interpreting that same statutory
language carry weight both as a matter of precedent and
because this Court presumes that in enacting RICO,
Congress adopted “the interpretation federal courts had
given the words earlier Congresses had used” in the
antitrust laws. Holmes v. Securities Investor Protection
Corporation, 503 U. S. 258, 268 (1992); see, e.g., Agency
Holding Corp. v. Malley-Duff & Associates, Inc., 483 U. S.
143, 151 (1987).
  Enacted long before RICO, the Sherman and Clayton
Acts provided that any “person who shall be injured in his
business or property . . . by reason of ” an antitrust violation
may “sue therefor” and “shall recover three fold the
damages by him sustained.” Sherman Act, §7, 26 Stat. 210
(1890) (emphasis added); see Clayton Act, §4, 38 Stat. 731
(1914), as amended, 15 U. S. C. §15(a). And in applying
that statutory text, the Court opined that “injured in his
business or property” had its traditional tort-law meaning.
  The Court expressly said so in an antitrust price-fixing
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case, Keogh v. Chicago & Northwestern R. Co., 260 U. S. 156
(1922). There, the Court accepted that the plaintiff “was
damaged” directly by the defendants’ illegal conduct—he
“lost the benefit of rates” that “he would have enjoyed” “but
for the conspiracy.”        Id., at 160, 162.       But being
“damaged”—suffering a loss—was not what the statutory
text demanded. The Sherman Act required legal injury. As
the Court put it, “Section 7 of the Anti-Trust Act” gave “a
right of action” only to “one who has been ‘injured in his
business or property.’ Injury implies violation of a legal
right.” Id., at 163 (emphasis added).
   In other words, the Keogh Court ruled that “injured”
referred to the violation of a legal right, not to the harm or
damage resulting from the violation of a legal right. And so
the Court went on to determine whether the plaintiff had
been legally “injured”—which, in Keogh, he had not.1
   Therefore, for an antitrust plaintiff to be “injured in his
business or property,” this Court and others have required
that the plaintiff be legally wronged in a business or

——————
   1 The Court does not offer a persuasive substantive response to what it

calls “century-old” precedent (i.e., case law from the time shortly after
the antitrust laws were enacted). The Court instead tries minimizing it.
Ante, at 11, n. 7. But the requirement of legal injury is not a “single
sentence” from Keogh: It is the holding of Keogh—a holding that has
been followed to the present day. Specifically, the fixed rates in Keogh
were filed with and approved by the Interstate Commerce Commission.
260 U. S., at 160. The plaintiff suffered no “legal” “[i]njury” from rates
elevated by price-fixing because the regulator-approved rate was the
“legal rate.” Id., at 163. In that circumstance, although the plaintiff
suffered a loss, there was no legal injury. Keogh’s holding is plainly
contrary to the Court’s test. And Keogh is not a one-off, as all of the other
above cases applying a legal-injury rule (especially Chattanooga Foundry
& Pipe Works v. Atlanta, 203 U. S. 390 (1906)) make clear. That is why
this Court has continued to reaffirm Keogh, going so far as to repeatedly
call it “settled law.” Square D Co. v. Niagara Frontier Tariff Bureau,
Inc., 476 U. S. 409, 415–417, 420, 422, 424 (1986); see, e.g., South Branch
LLC v. Commonwealth Edison Co., 46 F. 4th 646, 650–652 (CA7 2022)
(applying Keogh’s definition to civil RICO).
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property interest as traditionally understood.            See
Chattanooga Foundry, 203 U. S., at 396, 399; Gerli v. Silk
Assn. of Am., 36 F. 2d 959, 960 (SDNY 1929). The question
is whether the plaintiff ’s business or property rights were
legally violated—not whether the plaintiff suffered some
sort of business or property loss or damage from an injury.
   In Reiter v. Sonotone Corp., the Court applied those basic
principles to hold that the antitrust laws “exclude personal
injuries.” 442 U. S. 330, 339 (1979). That is true, the Court
suggested, even when the personal injuries led to losses or
damages related to the plaintiff ’s business or property. As
its example of excluded personal injuries, the Court cited
Hamman v. United States, 267 F. Supp. 420 (Mont. 1967).
In Hamman, the plaintiffs had tried to evade the personal-
injury exclusion by contending that their property damage
from a personal injury itself qualified as a distinct property
injury for purposes of the antitrust laws. Id., at 429, 432.
Under the antitrust laws, however, that argument does not
suffice, which is presumably why the Reiter Court cited
Hamman as exactly the kind of personal-injury suit that
the antitrust laws exclude. 442 U. S., at 339. The Reiter
Court’s citation to Hamman supports the conclusion that
damages to one’s business or property from personal
injuries do not somehow magically transform those
personal injuries into distinct business or property injuries
that can be alleged in an antitrust suit.
   To summarize: Antitrust law has long required plaintiffs
to allege business or property injuries, and has long
excluded suits for personal injuries.         And critically,
antitrust law has defined “injured” as traditionally
understood under tort law—that is, as an invasion of a legal
right and distinct from the losses or damages that ensue.2
——————
  2 The Court points to (1) the rule that paying higher-than-competitive

prices is an antitrust injury; and (2) a single conclusory line from one per
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   RICO aims “to compensate the same type of injury” as the
antitrust laws; “each requires that a plaintiff show injury
‘in his business or property by reason of ’ a violation.”
Agency Holding, 483 U. S., at 151. Those antitrust
precedents therefore strongly buttress the conclusion that
RICO excludes personal-injury torts, regardless of what
kinds of losses or damages ensue. See, e.g., Gause v. Philip
Morris, 2000 WL 34016343, *4–*5 (EDNY, Aug. 8, 2000)
(rejecting an attempt to reframe loss of income from
emphysema as a property injury under RICO).
   In RICO, Congress surely did not copy verbatim antitrust
law’s well-established business or property requirement in
order to silently convert ordinary personal-injury tort cases
into federal RICO lawsuits with treble damages available.
                             C
  Third, even if the above textual and precedential points
do not themselves clinch the matter, the federalism canon
weighs heavily against reading RICO to encompass
traditional personal-injury suits.
  The federalism canon directs courts not to significantly
alter the federal-state balance absent “exceedingly clear
language” from Congress. Sackett v. EPA, 598 U. S. 651,
679 (2023) (quotation marks omitted); see, e.g., Gregory v.
Ashcroft, 501 U. S. 452, 460 (1991). If RICO covered


——————
curiam opinion from the 1960s. Ante, at 11–12. But the first rule is just
the holding of Reiter, which specifically relied on a 1906 legal-injury
precedent to hold that a payment induced at an illegal price is injury in
one’s property. 442 U. S., at 340 (“A person whose property is diminished
by a payment of money wrongfully induced is injured in his property”
(quoting Chattanooga Foundry, 203 U. S., at 396 (quotation marks
omitted))). And as for the 1960s case, the Court there merely said that
“all the law requires” is damage to the plaintiff as compared to “economic
harm” to “the public at large.” Radiant Burners, Inc. v. Peoples Gas Light
& Coke Co., 364 U. S. 656, 659–660 (1961) (per curiam) (quotation marks
omitted).
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personal injuries that lead to lost wages and medical
expenses, as Horn advocates, then civil RICO would
federalize huge swaths of state tort law in a manner that
Congress never contemplated or authorized.
  That reading would eviscerate the careful balance that
Congress struck when enacting RICO.3 Again, most
personal-injury torts lead to damages involving a loss of
employment or income (such as lost wages) or loss of money
(such as medical expenses). Horn characterizes those
damages as lost business or lost property. So if Horn’s
argument were accepted and RICO’s exclusion of personal
injuries did not actually exclude most personal-injury tort
suits, then RICO would suddenly authorize a vast new
category of personal-injury suits seeking treble damages in
federal court. For example, plaintiffs could easily plead
everyday product liability claims as federal RICO claims, at
least so long as there were two or more instances of fraud
that a plaintiff could cast as a “pattern” of racketeering
activity. 18 U. S. C. §1961(5); see Brief for Petitioners 25–
29; Brief for Chamber of Commerce of the United States of
America et al. as Amici Curiae 19–21.
  Most state tort suits are personal-injury suits. And the
States assume an especially active role regarding the rules
of personal-injury cases, exercising their “traditional
authority to regulate tort actions.” Wos v. E. M. A., 568
U. S. 627, 639 (2013).
  Interpreting civil RICO to allow plaintiffs to bypass those
state-law limits—and to triple their damages in federal
court—would supplant vast “areas of traditional state
responsibility.” Bond v. United States, 572 U. S. 844, 858
——————
   3 RICO authorizes both criminal prosecutions and civil actions by the

Government regardless of whether there has been any business or
property injury. See 18 U. S. C. §§1963(a), 1964(a)–(b). But Congress
deliberately made a different choice for private suits, “cabining RICO’s
private cause of action to particular kinds of injury.” RJR Nabisco, Inc.
v. European Community, 579 U. S. 325, 350 (2016).
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(2014). In the antitrust context, this Court has emphasized
that the “maintenance in our federal system of a proper
distribution between state and national governments” is “of
far-reaching importance,” and an “intention to disturb the
balance is not lightly to be imputed to Congress.” Hunt v.
Crumboch, 325 U. S. 821, 826 (1945) (quotation marks
omitted).
  So too with RICO. Indeed, the federalism concerns are
even greater with RICO than with antitrust. Few antitrust
violations are likely to inflict personal injury on a
plaintiff—anticompetitive acts break laws, not legs. But
“the breadth of the predicate offenses” in RICO practically
covers the waterfront of personal-injury tort law. Sedima,
S. P. R. L. v. Imrex Co., 473 U. S. 479, 500 (1985). So if
RICO were interpreted as Horn suggests, RICO suits for
treble damages in federal court could supplant many
everyday tort suits in state court. Avoiding such seismic
shifts in the federal-state balance, Congress drew the
critical RICO boundary at issue here—“cabining RICO’s
private cause of action to particular kinds of injury” and
“excluding” “personal injuries.” RJR Nabisco, 579 U. S., at
350.
                             II
   To sum up so far: When civil RICO employed the
language “injured in his business or property,” it broke no
new ground. It incorporated well-established tort-law
principles and antitrust precedents in a straightforward
way. If the only injury (that is, invasion of a legal right)
that a plaintiff suffers is a personal injury, the plaintiff
cannot recover under civil RICO. And RICO does not allow
access to its treble-damages remedy by silently green-
lighting personal-injury suits that have downstream
financial consequences like lost wages or medical expenses.
After all, most personal injuries generate those
downstream financial consequences. So if RICO were
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interpreted in that way, it would federalize significant
swaths of state tort law, and substantially alter the federal-
state balance.
  Despite all of that, the Court today agrees in part (with
some important caveats as discussed below) with plaintiff
Horn on this basic statutory issue and thereby circumvents
RICO’s exclusion of personal injuries—letting in through
the back door at least some of the personal-injury suits that
RICO’s text bars at the threshold.
  The Court’s key mistake, in my view, is to employ an
ordinary-meaning definition of the term “injured” rather
than its longstanding meaning as a term of art in American
tort law. As the Court sees it, the ordinary meaning of
“injured” simply is to have suffered harm or losses or
damages. Therefore, when a personal injury leads to harm
or losses or damages related to one’s business or property,
those downstream harms to business or property are
actually their own distinct business or property injuries for
purposes of RICO.        So under that reasoning, many
personal-injury suits seeking treble damages can in fact be
brought under RICO in federal court. Voila.
                                A
   To navigate around RICO’s distinction between personal-
injury suits and business- or property-injury suits, and the
key point that injury is a longstanding tort-law term of art,
the Court stresses that RICO uses the term “injured”
instead of “injury.” That single piece of “context,” says the
Court, means that we should look to the ordinary meaning
of “injured” and that the traditional tort-law understanding
of injury does not carry over to RICO. Ante, at 7–8. I am
mystified by the Court’s attempt to hang its analytical hat
on such a thin distinction between “injured” and “injury.”
After all, a person “injured” is a person who has suffered an
“[i]njury,” a “violation of a legal right”—that is, the victim
of a tort or wrong. Keogh v. Chicago & Northwestern R. Co.,
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260 U. S. 156, 163 (1922) (quotation marks omitted); see,
e.g., Chattanooga Foundry & Pipe Works v. Atlanta, 203
U. S. 390, 398–399 (1906); Ziglar v. Abbasi, 582 U. S. 120,
130 (2017); Alabama Power Co. v. Ickes, 302 U. S. 464, 479
(1938); Taylor v. Carryl, 20 How. 583, 599 (1858).
   After reviewing a single dictionary definition of “injured,”
the Court concludes that the term “injured,” as distinct
from “injury,” has no specialized legal meaning. From
there, the Court says that it “is hard to make a term-of-art
argument without the term of art.” Ante, at 8. But the
Court’s nifty turn of phrase has no substance behind it.
Every one of the Court’s dictionaries—its legal dictionaries,
and even its generalist ones—includes the rights-violation
definition of “injure” or “injured,” not just of “injury.” See
Ballentine’s, at 627 (“injured party”); Black’s, at 924 (to
“injure”); Webster’s New International Dictionary 1111
(1913) (“injured”); American Heritage Dictionary 676 (1969)
(to “injure”); Webster’s Third New International Dictionary
1164 (1971) (“injured”). Those sources do not draw the
distinction that the Court creates in order to avoid RICO’s
exclusion of personal injuries.4
   Simply put, the Court’s attempt to find a key difference
between “injured” and “injury” rings hollow. And the
Court’s textual gymnastics do not end there. If the Court
were correct that injured simply means having suffered
harm or losses or damages, then the statutory term
“injured” would refer to the same thing as the statutory
term “damages.” But the statute distinguishes “injured”
from “damages” and makes clear they are not the same
——————
  4 Meanwhile, the Court’s cited definition for “injury in his property” is

nearly identical to this Court’s test for “injured in his property” in
antitrust, the part of speech notwithstanding. Compare Ballentine’s, at
627 (“An injury to his property; also the diminishing of his property by a
transfer of property, or a payment of money, induced by fraud”), with
Chattanooga Foundry, 203 U. S., at 396, 398–399 (either “injury to
property” or “a payment of money wrongfully induced”).
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thing. See §1964(c) (“Any person injured in his business or
property by reason of a violation” of RICO “shall recover
threefold the damages he sustains” (emphasis added)). The
text instead makes clear that damages are the losses that a
victim sustains from an injury.
  Faced with the problem that its definition of injured
refers to the same thing as damages in this statute, the
Court simply redefines “damages” not to mean losses, but
rather to mean only “monetary redress” to be paid for the
losses. Ante, at 8–9.
  The Court is surely correct that “damages” can mean (i)
losses suffered or (ii) monetary redress from a lawsuit for
those losses. In fact, the term “damages” is often used in
both ways. But in this statutory context, only the former
definition—losses—makes any sense. As used in the RICO
statute, “damages” are something that a victim “sustains.”
And the term “sustains” means to “experience or suffer (loss
or injury).” American Heritage, at 1296. A plaintiff cannot
suffer or sustain “monetary redress,” as the Court seems to
think. But he can sustain losses.
  So the term “damages” in RICO means losses, but that is
exactly what the Court says the term “injured” means. The
Court affords the same meaning to those different terms.
In this context, that is another clue that the Court’s
analysis of the term “injured” has gone off track.5
——————
  5 To be sure, when a plaintiff recovers the damages, he has obtained

“monetary redress.” But that is because of the statutory word “recover.”
Nor is it odd, as the Court seems to think, for a statute to say that a
plaintiff can “recover” his losses or damages. Allowing a plaintiff to
“recover” the “damages” sustained—where “damages” unambiguously
means losses suffered—is a formulation used in countless other statutes
and cases. For example, “[w]hen an owner of a passenger motor vehicle
sustains damages as a result of a motor vehicle accident because the
vehicle did not comply with” certain standards, “the owner may bring a
civil action against the manufacturer to recover the damages.” 49
U. S. C. §32508. If a person “purchase[s] or sell[s] any security at a price
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  In short, to reach its conclusion that RICO allows
personal-injury suits involving losses or damages to
business or property, the Court reasons that “injured”
means something different from “injury.” And it changes
the statutory definition of “damages” to avoid that word
carrying the same meaning as the Court’s reading of
“injured.”    Neither of those efforts is persuasive or
permissible as an interpretation of RICO’s text, in my view.
  The correct reading is instead the textually
straightforward one: A person “injured in his business or
property” is a person who has suffered injury in a business
or property right as traditionally defined—the violation of
a legal right in his business or property. Keogh, 260 U. S.,
at 163. Civil RICO allows a person to “recover damages” if
the damages result from a business or property injury, but
not if the damages result from a personal injury. Id., at
162.6
——————
which was affected” by certain manipulation, “the person so injured may
sue . . . to recover the damages sustained as a result of any such act or
transaction.” 15 U. S. C. §78i(f ). And even specifically in antitrust, a
“claimant” means a person bringing a civil action except for a State “with
respect to a civil action brought to recover damages sustained by the
State.” 15 U. S. C. §7a(4). See also, e.g., Missouri, K. & T. R. Co. v.
Haber, 169 U. S. 613, 615 (1898) (“object was to recover the damages
sustained by the plaintiff . . . by reason of the defendants having brought
. . . certain cattle alleged to have been” infected with “Spanish fever”);
Tindle v. Birkett, 205 U. S. 183, 184 (1907) (“an action brought in 1899
to recover damages claimed to have been sustained in consequence of
specified false and fraudulent representations”); Great Northern R. Co.
v. Sullivan, 294 U. S. 458, 462 (1935) (“if injured thereby, plaintiff is
entitled to recover the damages sustained in consequence of [the
defendant’s] failure”); Construction Workers v. Laburnum Constr. Corp.,
347 U. S. 656, 666 (1954) (“the recovery of damages caused by tortious
conduct”).
    6 In a footnote, the Court apparently also endorses Horn’s fallback

argument: According to the Court, even if “injured” refers to the violation
of a legal right, that is no problem so long as the legal right is the right
“against business or property harms that result from racketeering
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                               B
   The Court also contends that precedent compels us to
read “injured” as meaning “harmed or damaged,” not as a
tort-law term of art meaning invasion of a legal right. Ante,
at 6; see ante, at 9–11. But the Court does not cite any cases
actually holding as much. Instead, the Court offers out-of-
context citations of isolated mentions of “harm” in other
cases.
   In relying on passages pulled out of context from judicial
opinions, the Court makes the mistake of parsing “the
language of an opinion” “as though we were dealing with
language of a statute.” Reiter v. Sonotone Corp., 442 U. S.
330, 341 (1979). The Court seizes in particular on the word
“harm,” which is not in the RICO statute. The Court says
that injury simply means harm as ordinarily understood.
So any harm to business or property is its own distinct
business or property injury, the Court says. But that is
wrong as a matter of elementary tort law. As the
Restatement plainly says, “harm, which is merely personal
loss or detriment, gives rise to a cause of action only when
it results from the invasion of a legally protected interest,
which is to say an injury.” Restatement (Second) of Torts
§7, Comment d.7
——————
activity.” Ante, at 7, n. 4; see Brief for Respondent 24. But being
“injured” is an element of the RICO private right of action. If “injured”
means violation of a legal right, then the right being violated cannot be
the right to not suffer from a RICO violation. (That theory would be just
as circular as it sounds.) The rights violations have to be defined
somewhere else—and so they are, by “general common-law” tort
principles of “legal injury.” Bridge v. Phoenix Bond & Indemnity Co., 553
U. S. 639, 656 (2008).
  7 The Court also cites an extraterritoriality case, Yegiazaryan v.

Smagin, 599 U. S. 533 (2023). But its reading of that case is puzzling.
Yegiazaryan held that we must apply the presumption against
extraterritoriality, rather than a specific rule from the First Restatement
of Conflict of Laws, to determine whether and to what extent RICO
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  Moreover, contrary to the Court’s telling, multiple civil
RICO precedents confirm that to be “injured” in civil RICO
means to have suffered “legal injury,” not merely to have
suffered harm or loss or damage of some kind. Bridge v.
Phoenix Bond & Indemnity Co., 553 U. S. 639, 656 (2008).
In Bridge, for example, the Court explained that whether
an element is required in order to state a civil RICO claim
turns on whether that element is necessary to show “legally
cognizable     injury”   under     “general     common-law
principle[s].” Ibid.8 In Beck v. Prupis, the Court likewise
held that when civil RICO says that anyone “injured” by
reason of a “violation” may sue, it means that a plaintiff
may recover only if “injured” by a “violation” under “well-
established common law” principles. 529 U. S. 494, 500–
501, 506 (2000).9
——————
applies abroad. In other words, rather than any particular conflict-of-
laws rules, RICO incorporates our usual, across-the-board
extraterritoriality test for federal torts—the “presumption against
extraterritoriality, with its distinctive concerns for comity and discerning
congressional meaning.” Id., at 547–548. Nothing about that case
suggests we should not also apply our other usual rule for federal torts—
“the premise that when Congress creates a federal tort it adopts the
background of general tort law.” Staub v. Proctor Hospital, 562 U. S.
411, 417 (2011).
  8 The Court quotes Bridge but omits the first part of the sentence.

Bridge held that “predicate acts under RICO” need not be “actionable
under the common law” so long as they are chargeable under RICO’s list
of state or federal crimes. 553 U. S., at 652 (emphasis added and
quotation marks omitted). In other words, the part of Bridge that the
Court quotes says that predicate acts need to be crimes, not torts. But
when it came to determining whether a plaintiff suffered “legal injury”
from those predicate acts, Bridge made clear that what matters is the
“general common-law principle[s]” of tort liability. Id., at 656 (emphasis
added).
  9 And on other RICO-related interpretive issues as well, this Court’s

cases have read civil RICO “to incorporate common-law principles.”
Holmes v. Securities Investor Protection Corporation, 503 U. S. 258, 266–
267 (1992) (relying on Associated Gen. Contractors of Cal., Inc. v.
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  Those Bridge and Beck precedents directly contradict the
Court’s test today that RICO’s private right of action
“requires nothing more” than that a plaintiff ’s “business or
property has been harmed or damaged.” Ante, at 6. Under
this Court’s precedents, more is certainly required.
Specifically, the plaintiff must have suffered a business or
property injury as those terms are understood under
general tort principles—meaning an invasion of a legal
right in his business or property.
                              C
  The Court further says that distinguishing personal
injuries from business or property injuries, as the text of
RICO requires, would be difficult at times. To be sure, as
with almost everything in the law, there may be close calls
at the margins—here, about whether a plaintiff plausibly
alleges a business or property injury as distinct from a
personal injury. But that inquiry is at least a familiar
judicial exercise. Cf. United States v. Burke, 504 U. S. 229,
239 (1992); see also, e.g., Willard v. Moneta Bldg. Supply,
Inc., 262 Va. 473, 482, 551 S. E. 2d 596, 600 (2001)
(“applicable statute of limitations” turns on “the type of
injury alleged”). And the commonplace reality of some close
calls does not mean that we can or should disregard
Congress’s textual limitation on the kinds of injury that a
plaintiff must allege—and ultimately prove—in order to
recover under RICO.
  The Court also focuses incessantly on a scenario where,
as sometimes happens, a single episode results in injuries
both to one’s person and to one’s business or property. Some
kinds of wrongful acts can cause the invasion of multiple
legal rights—for example, a car accident might damage the
car (property injury) and physically harm the driver
——————
Carpenters, 459 U. S. 519, 531–534 (1983)); see also Anza v. Ideal Steel
Supply Corp., 547 U. S. 451, 457 (2006); Hemi Group, LLC v. City of New
York, 559 U. S. 1, 9 (2010).
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(personal injury). See generally W. Loyd, Actions Arising
Out of Injury to Both Person and Property, 60 U. Pa. L. Rev.
531 (1912); contra, ante, at 14, n. 9 (resisting dividing
negligence actions along these lines). In those scenarios,
civil RICO allows recovery for the business or property
injury (assuming RICO’s other requirements are met), but
not the personal injury.
  I therefore agree with the Court—and so does defendant
Medical Marijuana—that civil RICO allows for recovery
any time a defendant has “invaded the plaintiff ’s business
or property rights,” “even if the plaintiff also suffered a
personal injury.” Brief for Petitioners 34–35; see Reply
Brief 7. As defendant Medical Marijuana acknowledges,
and I too agree, if a defendant’s act causes both personal
and property injuries to another, then civil RICO “allows
suit for the” “property injury” but not the “personal injury,”
no matter which came first. Reply Brief 8.
  In other words, neither Medical Marijuana nor I actually
adopt the position the Court today labels as the
“antecedent-personal-injury bar.” Ante, at 4, 14. Under
that supposed bar, RICO would “implicitly” exclude any
business or property injuries whenever they follow a
personal injury. Ante, at 4. But by repeatedly criticizing
that supposed rule, the Court invents and knocks down a
straw man. So just to be crystal clear, I agree with the
Court (as does defendant Medical Marijuana) that if the
plaintiff at some point also suffered a personal injury in
addition to a business or property injury, the plaintiff can
still recover damages for the business or property injury.
  Consider the Court’s hypotheticals. They are supposed to
show that the so-called “antecedent-personal-injury bar”
would bar recovery and lead to untenable results in certain
cases. But in almost all of them, the rule that defendant
Medical Marijuana proposes (and I agree with) would allow
recovery, not bar it. Indeed, they are not close calls. Why
does Tony Soprano “injure” a victim in his property by
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extracting a computer password through violence and then
using it to drain a bank account? Because he has committed
at least two traditional wrongs: battery on the password
holder and conversion of the money. Restatement (Second)
of Torts §§13, 222. A mobster who assaults a carwash
owner in order to force him to do business with the mob
“intentionally and improperly interferes” with the owner’s
right to do business with whom he pleases. Id., §§766A,
766B; cf. id., §§766C, 912, Comment d (no business injury
from lost profits after a personal injury “unless the harm to
the business was intended”); contra, ante, at 6. And when
a fraudster or a kidnapper uses deceit or extortion to obtain
money, the victim parts with it because he “has been
defrauded or subjected to duress, or whatever it may be”—
in other words, “injured in his property.” Chattanooga
Foundry, 203 U. S., at 399.
   The correct rule therefore remains the one that civil
RICO expressly provides: In a RICO suit, a plaintiff can
recover “damages” from a “business or property” injury, but
not damages from a personal injury.
                             III
   Now, we get to the important juncture where the Court
diverges from plaintiff Horn in terms of what RICO
plaintiffs may recover in personal-injury suits.
   Plaintiff Horn seeks a rule that would blatantly
circumvent RICO’s exclusion of personal-injury suits. In
Horn’s world, plaintiffs could routinely bring RICO claims
for personal injuries from drug mislabeling, dangerous
products, medical malpractice, car accidents, and health
consequences from pollution, to name a few. As Horn sees
it, “injured” means to have experienced a loss, and losing
money via lost wages or medical expenses always entails
being “injured” in one’s business or property. See Reiter v.
Sonotone Corp., 442 U. S. 330, 338 (1979) (“Money, of
course, is a form of property”). Therefore, plaintiffs could
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routinely repackage many state personal-injury suits as
RICO suits (so long as the defendant committed two or more
predicate acts) and obtain treble recovery for medical
expenses, lost wages, and other pecuniary losses. The only
kind of damages that Horn would exclude are non-economic
damages like pain and suffering.10
   Plaintiff Horn’s approach would dramatically expand
civil RICO and allow plaintiffs to seize on RICO to replace
ordinary state-law tort suits. Plaintiffs could convert, for
example, everyday product liability claims into RICO mass-
tort class actions and multi-district litigation where
plaintiffs might now seek recovery of triple their lost wages
and triple their medical expenses.
   Horn’s game-changing rule would likely produce
significant cascading effects on the American economy and
federal and state court systems. American businesses
facing novel RICO suits with treble damages would incur
significantly    increased     litigation    exposure     and
corresponding settlement pressure.          Their insurance
premiums would rise. And all of those costs would mean
higher prices for consumers, and fewer jobs and lower
wages for workers. In short, the effects of Horn’s rule would
likely be dramatic, as Medical Marijuana and its amici
explain. See Brief for DRI Center for Law and Public Policy
et al. as Amici Curiae 20–22; Brief for Chamber of
Commerce of the United States of America et al. as Amici
Curiae 22–23.
——————
  10 Plaintiff Horn says that his rule is consistent with the Ninth

Circuit’s. But in Diaz v. Gates, the Ninth Circuit specifically rejected
conflating “mere loss of something of value (such as wages) with injury
to a property interest (such as the right to earn wages).” 420 F. 3d 897,
900, n. 1 (2005) (en banc). And that court held that the plaintiff ’s harms
could give rise to a RICO claim because they “amount[ed] to intentional
interference with contract and interference with prospective business
relations.” Id., at 900. So the Ninth Circuit’s rule is distinct from the
rules advocated by plaintiff Horn and the Court today, which reject any
reliance on tort law or legal injury.
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  Where is the Court on all of this? Having accepted
plaintiff Horn’s basic statutory argument, the Court
declines to accept all the implications of that position.
Instead, the Court stops short and does not (yet) go as far
as Horn would. After agreeing with Horn that RICO does
not exclude what are traditional personal-injury suits, the
Court does not (for now) adopt Horn’s view that lost wages
and medical expenses are “necessarily” recoverable. Ante,
at 18. The Court instead suggests that lost wages (as
distinct from lost profits) may not necessarily be a business
loss, and pecuniary losses such as medical expenses may
not necessarily be a property loss.
  It is good that the Court pulls back from the precipice and
does not adopt Horn’s argument in full. In particular, the
Court seems to recognize that it would border on the absurd
to adopt Horn’s position in full and interpret RICO to
federalize (and allow treble damages for) such a large
number of otherwise standard personal-injury tort suits.
  But instead of simply interpreting RICO not to authorize
suits for personal injuries, as the statutory text says and as
I would do, the Court still sticks partway with Horn and his
overly broad interpretation of the statutory text. The Court
then backfills to avoid some of the absurd implications of
that position by emphasizing certain statutory limitations
on RICO suits and then leaving other questions
unanswered for now.
  For example, the Court stresses that proximate cause is
strictly cabined in the RICO context, requiring a direct
relationship, not mere foreseeability. Ante, at 17; see Hemi
Group, LLC v. City of New York, 559 U. S. 1, 12 (2010); Anza
v. Ideal Steel Supply Corp., 547 U. S. 451, 457 (2006);
Holmes v. Securities Investor Protection Corporation, 503
U. S. 258, 266–267 (1992). The Court helpfully suggests,
moreover, that Horn’s suit will not clear that direct-
relationship bar, saying that it may pose an
“insurmountable obstacle” to Horn’s continuing this suit.
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Ante, at 17. And the Court notes that RICO does not allow
suits for a single tort, but requires a “pattern of
racketeering activity.” Ante, at 18.
  I welcome those limits, and I appreciate that they may
mitigate some of the potential consequences of the Court’s
overbroad statutory interpretation.
  But the Court then does not answer a significant real-
world question spawned by its expansive statutory
interpretation: Can civil RICO plaintiffs claim lost wages
and medical expenses as business or property injuries?
Lower courts will have to resolve the question that the
Court’s opinion does not answer. All of the above text,
context, and history should counsel against interpreting
RICO to cover classic damages like lost wages and medical
expenses resulting solely from personal injuries. But at
least until the Court squarely holds that lost wages and
medical expenses are not recoverable, the Court’s opinion
will leave a good deal of uncertainty for the lower courts to
address. The Court’s opinion will generate far more
confusion and litigation than simply reading the statute as
written—as the Sixth, Seventh, and Eleventh Circuits have
done—in light of the basic tort-law principles regarding
injury that Congress incorporated into civil RICO.
  The Court says: “You can’t replace something with
nothing.” Ante, at 13. But the Court does not heed its own
admonition. Today, the Court replaces a statutory limit
derived from centuries of tort law with a punt that will
leave substantial confusion and litigation in its wake.
                        *     *     *
  This case should have been reasonably straightforward.
RICO does not authorize personal-injury suits—period.
That is true even when a personal injury leads to losses
related to one’s business or property, as personal injuries
often do. The Court’s decision to allow personal-injury suits
under RICO is mistaken as a matter of statutory text and
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context. And the Court’s failure to decide the lost-wages
and medical-expenses questions will undoubtedly produce
significant confusion and litigation in the lower courts, all
of which is wasteful and unnecessary—and contrary to
Congress’s decision to categorically exclude personal-injury
suits from civil RICO. I respectfully dissent.
